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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS

LARRY CLARK, JOSEPH HAUSER,            )
LYDIA JOHNSON, and LINDA CAVAZOS,      )
individually, and on behalf of those   )
similarly situated,                    )
                                       )        No.: 3:22-cv-00628-NJR
                   Plaintiffs,         )
                                       )        Honorable Nancy J. Rosenstengel
v.                                     )
                                       )
MCDONALD’S CORPORATION,                )
                                       )
                   Defendant.          )
______________________________________________________________________________

                Request for Judicial Notice and Incorporation by Reference

       Defendant McDonald’s Corporation (“McDonald’s”) requests that the Court take judicial

notice of certain documents pursuant to Rule 201 of the Federal Rules of Evidence, and that the

Court consider documents cited in the First Amended Class Action Complaint (“Complaint”), in

support of McDonald’s Motion to Dismiss, submitted concurrently with this request:

      Ex. A- McDonald’s Packaging and Waste webpage
       (https://corporate.mcdonalds.com/corpmcd/our-purpose-and-impact/our-
       planet/packaging-and-waste.html) (see Complaint ¶ 63 n.34, which refers to this
       webpage)

      Ex. B- EPA: PFAS Explained (https://www.epa.gov/pfas/pfas-explained) (Complaint ¶
       74 n.37)

      Ex. C- EPA: Our Current Understanding of the Human Health and Environmental Risks
       of PFAS (https://www.epa.gov/pfas/our-current-understanding-human-health-and-
       environmental-risks-pfas) (Complaint ¶ 75 n.38)

      Ex. D- Nicole W., Breaking It Down: Estimating Short-Chain PFAS Half-Lives in a
       Human Population, ENVIRON HEALTH PERSPECT. 2020;128(11):114002
       (https://www.ncbi.nlm.nih.gov/pmc/articles/PMC7657368/) (Complaint ¶ 77 n.39)

      Ex. E- Per- and Polyfluoroalkyl Substances (PFAS), Nat’l Toxicology Program
       (https://ntp.niehs.nih.gov/whatwestudy/topics/pfas/index.html) (Complaint ¶ 80 n.41)
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      Ex. F- Harvard T.H. Chan Sch. of Pub. Health, Breastfeeding may expose infants to toxic
       chemicals (Aug. 20, 2015) (https://www.hsph.harvard.edu/news/press-
       releases/breastfeeding-may-expose-infants-to-toxic-chemicals/) (Complaint ¶ 97 n.46)

      Ex. G- EPA Fact Sheet: 2010/2015 PFOA Stewardship Program
       (https://www.epa.gov/assessing-and-managing-chemicals-under-tsca/fact-sheet-
       20102015-pfoa-stewardship-program)

      Ex. H- FDA: Authorized Uses of PFAS in Food Contact Applications
       (https://www.fda.gov/food/chemical-contaminants-food/authorized-uses-pfas-food-
       contact-applications)

      Ex. I- FDA approval for Scotchban FC-807
       (https://www.cfsanappsexternal.fda.gov/scripts/fdcc/?set=IndirectAdditives&id=AMMO
       NIUMBISETHYLPERFLUOROOCTANESULFONAMIDOETHYLPHOSPHATE&sor
       t=Sortterm_ID&order=ASC&startrow=1&type=basic&search=ammonium (Complaint
       ¶¶ 57-60)

      Ex. J- FDA food contact notification number database (searchable database available at
       https://www.cfsanappsexternal.fda.gov/scripts/fdcc/index.cfm?set=FCN)

      Ex. K- McDowell v. McDonald’s Corp., No. 1:22-cv-01688 (N.D. Ill. - filed Mar. 31,
       2022) Complaint (ECF No. 1)

      Ex. L- Collora v. McDonald’s Corp., No. 1:22-cv-01904 (N.D. Ill. - filed Apr. 13, 2022)
       Complaint (ECF No. 1)

      Ex. M- Minutes order relating McDowell and Collora cases (ECF No. 10 in No. 1:22-cv-
       01688)

      Ex. N- EPA: Basic Information about Per- and Polyfluoroalkyl Substances (PFASs)
       (January 19, 2017) (https://19january2017snapshot.epa.gov/pfas/basic-information-about-
       and-polyfluoroalkyl-substances-pfass_.html#tab-1)

      Ex. O- Minnesota 3M PFAS Settlement (https://3msettlement.state.mn.us/) (Complaint ¶
       116 n.61)

      Ex. P- Reuters: DuPont settles lawsuits over leak of chemical used to make Teflon (Feb.
       13, 2017) (corrected hyperlink available at https://www.reuters.com/article/us-du-pont-
       lawsuit-west-virginia-idUSKBN15S18U) (Complaint ¶ 117 n.62)

      Ex. Q- Environmental Working Group: DuPont, Chemours and Corteva Reach $4 Billion
       Settlement on ‘Forever Chemicals’ Lawsuits (Jan. 22, 2021) (https://www.ewg.org/news-
       insights/news-release/dupont-chemours-and-corteva-reach-4-billion-settlement-forever-
       chemicals) (Compliant ¶ 118 n.63)


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      Ex. R- June 1, 2022 Order Granting Motion to Dismiss in GMO Free USA v. Coty Inc. et
       al., No. 2021 CA 004786 B (Superior Court of Washington, D.C.)

       A district court may take judicial notice of “matters of public record without converting a

Rule 12(b)(6) motion into a motion for summary judgment.” Doss v. Clearwater Title Co., 551

F.3d 634, 640 (7th Cir. 2008). Under the Federal Rules of Evidence, a fact is judicially

noticeable when it is not subject to reasonable dispute because it “can be accurately and readily

determined from sources whose accuracy cannot reasonably be questioned.” Fed. R. Evid.

201(b)(2).

       Exhibits A, B, C, D, E, F, G, H, I, J, K, L, M, N, O, P, Q, and R are subject to judicial

notice because they are publicly available documents that are reports by administrative bodies,

court decisions and court documents, documents in the public record, and undisputed website

content. See Schmierbach v. Alton & S. Ry. Co., No. 18-01684-NJR-GCS, 2019 WL 2644471, at

*2 n.2 (S.D. Ill. June 27, 2019) (taking judicial notice of an administrative decision); Blaney v.

Godinez, No. 17-CV-1099-DRH, 2018 WL 4932453, at *1 n.1 (S.D. Ill. Oct. 11, 2018) (taking

judicial notice of court documents from other cases); Smith v. Hous. Auth. of Southbend, 744 F.

Supp. 2d 775, 785 (N.D. Ind. 2010) (“The Seventh Circuit has stated that it is proper to take

judicial notice of such things as historical documents, documents contained in the public record,

and reports of administrative bodies, and state court decisions.” (citing 520 S. Mich. Ave.

Assocs., Ltd. v. Shannon, 549 F.3d 1119, 1138 n.14 (7th Cir. 2008)); Goplin v. WeConnect, Inc.,

893 F.3d 488, 491 (7th Cir. 2018) (holding that the district court did not err by taking judicial

notice of employer’s website content); United States ex rel. Suarez v. AbbVie, Inc., 503 F. Supp.

3d 711, 721 (N.D. Ill. 2020) (taking judicial notice of websites and blogs related to prescription

immunosuppressive medication as matters of public record); USA-Halal Chamber of Com., Inc.

v. Best Choice Meats, Inc., 402 F. Supp. 3d 427, 431 (N.D. Ill. 2019) (“We may take judicial

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notice of undisputed material hosted on a party’s public website.”) (internal quotation marks and

citations omitted). As such, these documents’ accuracy is “not subject to reasonable dispute”

because they “can be accurately and readily determined from sources whose accuracy cannot

reasonably be questioned.” Fed. R. Evid. 201(b)(2).

      Moreover, the Court may incorporate by reference documents cited in the Complaint:

“Where a document is referenced in the complaint and central to plaintiff’s claims, . . . the Court

may consider it in ruling on the motion to dismiss.” United States v. 286,161 Bottles et al., No.

19 C 3876, 2020 WL 550598, at *1 n.1 (N.D. Ill. Feb. 3, 2020) (citing Hecker v. Deere & Co.,

556 F.3d 575, 582-83 (7th Cir. 2009)); see also Treo Salon, Inc. v. W. Bend Mut. Ins. Co., 538 F.

Supp. 3d 859, 863 (S.D. Ill. 2021) (considering an insurance contract on a motion to dismiss that

was referenced in the plaintiff’s complaint).

      Exhibits A, B, C, D, E, F, O, P, and Q are incorporated by reference as they are either

directly cited in the Complaint or cited in a source cited in the Complaint. Plaintiffs cite to

sources throughout their Complaint, which purportedly support their claims that all PFAS

substances are the same and that McDonald’s falsely advertised its products. Thus, the exhibits

are referenced in the Complaint and central to the Plaintiffs’ claims. See 286,161 Bottles, 2020

WL 550598, at *1 n.1; Polley v. Nw. Univ., 560 F. Supp. 3d 1197, 1205 (N.D. Ill. 2021) (denying

plaintiff’s motion to strike an exhibit presented in a motion to dismiss, because, while it was not

specifically referenced in the complaint, it was part of the school’s course catalogs, which were

referenced in the complaint). The Court should therefore incorporate by reference these exhibits

into the Motion to Dismiss.




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      WHEREFORE, Defendants request that the Court take judicial notice and/or incorporate

by reference the documents submitted concurrently with this Request, in conjunction with

Defendants’ Motion to Dismiss.

       Dated: June 1, 2022          Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       The undersigned counsel hereby certifies that the above filing was served upon counsel

of record via the Court’s electronic filing system on June 1, 2022.

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                     EXHIBIT K
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                            IN THE UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS

                                                                    )
    KEN MCDOWELL, individually and on behalf of                     ) Case No.:
    all others similarly situated,                                  )
                                                                    )
                                      Plaintiff,                    )
                                                                    )
          v.                                                        )
                                                                    )
    MCDONALD’S CORPORATION,                                         ) JURY TRIAL DEMANDED
                                                                    )
                                      Defendant.                    )
                                                                    )
                                                                    )


                                      CLASS ACTION COMPLAINT

         Plaintiff Ken McDowell (“Plaintiff”) brings this action on behalf of himself and all others

similarly situated against Defendant McDonald’s Corporation (“Defendant”). Plaintiff makes the

following allegations pursuant to the investigation of his counsel and based upon information and

belief, except as to the allegations specifically pertaining to himself, which are based on personal

knowledge.

                                        NATURE OF THE ACTION

         1.       Plaintiff brings this Class action lawsuit on behalf of himself and similarly situated

consumers (“Class Members”) who purchased for personal, family, or household use, Defendant’s

Big Mac (the “Product”), which is unfit for human consumption because the packaging in which

it is contained—and is essential and integral to delivering the Product to the consuming public1—

contains unsafe per- and polyfluoralkyl substances (“PFAS”).2


1
 Due to the integral and essential nature of the packaging, the term “Product” is used herein to denote both the Product
and the Product’s packaging.
2
 Discovery may reveal that additional McDonald’s products are within the scope of this Complaint. Accordingly,
Plaintiff reserves the right to include additional food products identified throughout the course of discovery.
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         2.       PFAS are a group of synthetic chemicals known to be harmful to both the

environment and humans. Because PFAS persist and accumulate over time, they are harmful even

at very low levels. Indeed, “PFAS have been shown to have a number of toxicological effects in

laboratory studies and have been associated with thyroid disorders, immunotoxic effects, and

various cancers in epidemiology studies.”3

         3.       In fact, scientists are studying—and are extremely concerned about—how PFAS

affect human health. Consequently, the CDC outlined “a host of health effects associated with

PFAS exposure, including cancer, liver damage, decreased fertility, and increased risk of asthma

and thyroid disease.”4

         4.       Despite Defendant’s representations to consumers that their products are “safe,”5

and “sustainable,”6 including in its website and the Product packaging—which is an essential and

integral part of delivering the Product to consumers—independent research conducted by

Consumer Reports7 determined that the Product packaging—which is an essential and integral part




3
  Nicholas J. Heckert, et al. “Characterization of Per- and Polyfluorinated Alkyl Substances Present in Commercial
Anti-fog Products and Their In Vitro Adipogenic Activity,” Environ. Sci. Technol. 2022, 56, 1162-1173, 1162.
4
  Harvard T.H. Chan Sch. Of Pub. Health, Health Risks of widely used chemicals may be underestimated (June 27,
2018), https://www.hsph.harvard.edu/news/hsph-in-the-news/pfas-health-risks-underestimated/ (last visited Mar. 30,
2022).
5
  See, e.g., McDonald’s, “Our Food Philosophy,” https://www.mcdonalds.com/us/en-us/about-our-food/our-food-
philosophy.html (last visited Mar. 30, 2022) (“At McDonald’s . . . [w]e take great care that what we serve every day
is safe, great quality, offers choice and is produced in a responsible way.”).
6
  See, e.g., McDonald’s, “Packaging & Waste,” https://corporate.mcdonalds.com/corpmcd/our-purpose-and-
impact/our-planet/packaging-and-waste.html (last visited Mar. 30, 2022) (“Meeting Customer Expectations of
Convenience, Safety and Sustainability . . . Together with our Franchisees, suppliers and industry partners, we invest
in research and development of new materials and packaging designs that fit our customers’ needs for convenience,
food safety and sustainability.”).
7
 Kevin Loria, “Dangerous PFAS Chemicals Are in Your Food Packaging,” Consumer Reports,
https://www.consumerreports.org/pfas-food-packaging/dangerous-pfas-chemicals-are-in-your-food-packaging-
a3786252074/ (last visited Mar. 30, 2022).


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of delivering the Product to consumers—contains 195.3 parts per million (ppm) of total organic

fluorine.”8

        5.        As a point of reference, the current EPA health advisor limit for safe consumption,

is just 70 nanograms per liter.9 To put this in perspective, 1 part per million is the equivalent

of 1,000,000 nanograms per liter.10 Accordingly, the Product would expose a consumer to PFAS

at levels that are several orders of magnitude higher than one would receive from drinking a liter

of water that contains PFAS at the level considered safe by the EPA.

        6.       This particularly worrisome in the context of Defendant’s packaging for the

Product, which emphasizes its sustainable nature in substantially similar to the following manner:




8
  According to Toxin Free USA, “organic fluorine results identify a quantity of organofluorine compounds (e.g.,
PFAS) and excludes the possibility that fluorine may be present from other or natural sources.” See GMO Free v.
CoverGirl Cosmetics, et al., Case No. 2021-CV-0046786B (D.C. Super. Dec. 20, 2021), Docket No. 1, ¶¶ 30-31.
9
  Duke University, Nicholas School of the Environment, “High Levels of PFAS Found in Anti-Fogging Sprays and
Cloths,” (Jan. 5, 2022), https://nicholas.duke.edu/news/high-levels-pfas-found-anti-fogging-sprays-and-cloths (last
visited Mar. 30, 2022).
10
  JustinTOOLS, “Density Units Conversion parts-per-million to nanograms-per-liter,”
https://www.justintools.com/unit-conversion/density/php?k1=parts-per-million&k2=nanograms-per-milliliter (last
visited Mar. 30, 2022).


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           7.      The use of the Forest Stewardship Counsel’s (“FSC”) label serves to assure

consumers that the Product packaging is sustainable and can trusted. As the FSC notes, “[s]een

on thousands of product labels around the world, the FSC trademark—most recognizably the

famous FSC logo—are trusted by ethical consumers worldwide.”11 The FSC further notes

           8.      In fact, the FSC further notes that the FSC logo may be used to “show[] sustainable

credentials to your buyers.”12 As a user of the FSC logo, Defendant undoubtedly is aware of the

importance that consumers attach to it.

           9.      Thus, based on Defendant’s representations, a reasonable consumer would expect

that the Product can be safely purchased and consumed as marketed and sold. However, the

Product is not safe, posing a significant health risk to unsuspecting consumers. Nor is the Product

sustainable. Yet, neither before nor at the time of purchase does Defendant notify consumers like

Plaintiff that their Product is unsafe and harmful to the environment, contains heightened levels of

PFAS, or should otherwise be approached with caution.

           10.     Accordingly, Plaintiff brings his claims against Defendant individually and on

behalf of a class of all other similarly situated for (1) violation of California’s Unfair Competition

Law, Cal. Bus. & Prof. Code § 17200, et seq.; (2) violation of the Consumer Legal Remedies Act,

Cal. Civ. Code § 1750, et seq.; (3) breach of the Implied Warranty under Song-Beverly Consumer

Warranty Act, Cal. Civ. Code § 1792, et seq. and California Commercial Code § 2314; (4)

violation of California’s False Advertising Law, Cal. Bus. & Prof. Code § 17200, et seq.; (5) Fraud;

(6) Constructive Fraud; (7) Fraudulent Inducement; (8) Money Had And Received; (9) Fraudulent

Omission or Concealment; (10) Fraudulent Misrepresentation; (11) Negligent Misrepresentation;



11
   Forest Stewardship Counsel, “How to Use the FSC Logo,” https://fsc.org/en/for-businesses/use-our-logo (last
visited Mar. 30, 2022).
12
     Id., “Who can use the FSC trademarks?”


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(12) Quasi-Contract / Unjust Enrichment; (13) Breach of Express Warranty; and (14) Negligent

Failure to Warn.

                                          THE PARTIES

       11.     Plaintiff Ken McDowell is a natural person and citizen of California who resides in

San Rafael, California. Plaintiff McDowell has purchased the Product from Defendant for several

years, including as recently as March 2022 from a McDonald’s located in San Rafael, California.

Prior to his purchase, Mr. McDowell reviewed the labeling, packaging, and marketing materials

of his Product, including those set out herein, including that the Product was safe and sustainable.

Mr. McDowell understood that based on Defendant’s claims, that Product was safe for

consumption, and otherwise a sustainable product. Mr. McDowell reasonably relied on these

representations and warranties in deciding to purchase the Product, and these representations and

warranties were part of the basis of the bargain in that he would not have purchased the Product,

or would not have purchased it on the same terms, if the true facts had been known. As a direct

result of Defendant’s material misrepresentations and omissions, Mr. McDowell suffered and

continues to suffer, economic injuries.

       12.     Mr. McDowell continues to desire to purchase the Product from Defendant.

However, Mr. McDowell is unable to determine if the Product is actually safe and sustainable.

Mr. McDowell understands that the composition of the Product may change over time. But as

long as Defendant continues to markets its products as “safe” and “sustainable,” he will be unable

to make informed decisions about whether to purchase Defendant’s Product and will be unable to

evaluate the different prices between Defendant’s Product and competitor’s Products.            Mr.

McDowell is further likely to be repeatedly misled by Defendant’s conduct, unless and until




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Defendant is compelled to ensure that the Product is marketed, labeled, packaged, and advertised

as safe and sustainable, are in fact safe and sustainable.

        13.         Defendant McDonald’s Corporation (“Defendant”) is a Delaware corporation with

its principal place of business located in Chicago, Illinois.

                                    JURISDICTION AND VENUE

        14.         This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(d)(2)(A),

as amended by the Class Action Fairness Act of 2005 (“CAFA”), because this case is a class action

where the aggregate claims of all members of the proposed class are in excess of $5,000,000.00,

exclusive of interest and costs, there are over 100 members of the putative class, and Plaintiff, as

well as most members of the proposed class, are citizens of different states than Defendant.

        15.         This Court has personal jurisdiction over Defendant because Defendant’s principal

place of business is located in this District, and the acts and transactions giving rise to this action

occurred in this District.

        16.         This Court is the proper venue for this action pursuant to pursuant to 28 U.S.C. §

1391 because Defendant’s principal place of business is located in this District and because a

substantial part of the events, omissions, and acts giving rise to Plaintiff’s claims herein occurred

in this District.

                                      FACTUAL ALLEGATIONS

        A.          Food And Consumer Preferences

        17.         According to a recent survey, chemicals in food (including carcinogens or cancer-

causing chemicals) represents the most important food safety issue to consumers.13 Consumers



13
   Tom Neltner, “Chemicals in food continue to be a top food safety concern among consumers,” (Sept. 16, 2021),
https://blogs.edf.org/health/2021/09/16/chemicals-in-food-continue-to-be-a-top-food-safety-concern-among-
consumers/ (last visited Mar. 30, 2021).



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ranked this concern more highly than any other concern, including foodborne illness from bacteria

and use of pesticides.14

           18.     At the same time, awareness of, and an inclination toward, safer products is guiding

consumer choices. One survey, for instance, found that “when asked to choose the top three factors

they prioritize when deciding between products, the majority of consumers surveyed said they

prioritize the health/safety of products (71%) and products free of certain toxic chemicals

(70%).”15

           19.     These findings extend to the packaging of products, with 82% of consumers

agreeing that “it is important for brands to balance safety and concern for the environment when

designing product packaging.”16

           20.     Additionally, “[t]he majority of shoppers . . . are willing to spend more for a product

they know is safer, with 42% willing to spend 5-15% more, 36% willing to spend 16-25% more,

and 17% willing to spend 1-5% more.”17

           21.     Thus, there is enormous incentive for companies such as Defendant to market their

products as safe and sustainable. Indeed, Defendant has repeatedly and pervasively touted these

considerations as reasons to purchase the Product over competitors.                 Examples of these

representations are included below.

           22.     These include statements made directly on Defendant’s website such as “From the

start, we’ve been committed to doing the right thing. And every day, all around the globe, we put


14
     Id.
15
  Made Safe, “What Shoppers Want: Safe & Healthy Products,” https://www.madesafe.org/wp-
conent/uploads/2017/07/What-Shoppers-Want.pdf (last visited Mar. 22, 2022).
16
   Gray, “New Consumer Packaging Trends Are Changing the Game for Food & Beverage Processors,”
https://www.gray.com/insights/new-consumer-packaging-trends-are-changing-the-game-for-food-beverage-
processors/ (last visited Mar. 22, 2022).
17
     Made Safe, “What Shoppers Want,” at 3.


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people, processes and practices into place to make quality food, more responsible sourcing choices,

a stronger community and a better planet.”18

           23.   Defendant states on its website that “[f]rom minimizing how much packaging we

use to investing and partnering to advance sustainable and regenerative agricultural practices – we

want to help protect our planet for communities today and in the future.”19

           24.   Defendant prominently quotes its Executive Vice President, Francesca DeBiase, on

its website as stating “‘To secure a thriving food system for the future, the food industry has an

opportunity—and a responsibility—to help mitigate the impacts of climate change and find more

sustainable ways to feed people.’”20

           25.   Defendant states on its website that its “Packaging helps us serve food quickly and

safely to our customers.”21

           26.   Defendant states on its website that “Providing safe food is our number one priority

and a responsibility that we take seriously.”22

           27.   Defendant states on its website that “To do this, McDonald’s renewed and refreshed

our Global Food Safety Strategy in 2019, which ensures we integrate food safety into the design

of food [and] packaging[.]”23




18
 McDonald’s, “Values in Action,” https://www.mcdonalds.com/us/en-us/about-us/values-in-action.html (last visited
Mar. 30, 2022).
19
  McDonald’s “Our Planet,” https://corporate.mcdonalds.com/corpmcd/our-purpose-and-impact/our-planet.html (last
visited Mar. 30, 2022).
20
     Id.
21
  McDonald’s, “Climate Risk & Resiliency Summary 2021,”
https://corporate.mcdonalds.com/content/dam/gwscorp/assets/our-planet/climate-action/McDonalds-2021-Climate-
Risk-and-Resiliency-Summary.pdf at 10 (last visited Mar. 30, 2022).
22
   McDonald’s, “Food Safety, https://corporate.mcdonalds.com/corpmcd/our-purpose-and-impact/food-quality-and-
sourcing/food-safety.html (last visited Mar. 30, 2022).
23
   Id.



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           28.   Defendant states on its website that “We believe food safety should be a key

consideration for every company in our industry[.]”24

           29.   Defendant has amplified this ethos in its packaging, which, as Defendant notes,

“lives seamlessly with the brand identity, as they were created in parallel over the course of four

years. The point-of-view and principles hold true across every menu item to make way for a

cohesive system[.]”25

           30.   Thus, when consumers, like Plaintiff interact with Defendant’s packaging, they

expect it to embody Defendant’s brand, which as noted above, has continuously emphasized safety

and sustainability.

           31.   And Defendant’s recognized this in its report to investors immediately following

the rebrand, noting that “From time to time, we have reinvigorated our values to stay responsive

to the changing needs of our customers. In 2020, we did just that – clarifying what guides us and

what we stand for to make the values of this Brand as clear, concise and relevant to today as

possible.”26

           32.   Defendant noted that this rebrand was reflected in Food Quality and Sourcing,

stating that “The safety and quality of our food is a top priority, and we are constantly innovating

the strive to meet and exceed our customers’ expectations.”27




24
     Id.
25
  Packaging Europe, “The inside story of the McDonald’s packaging rebrand,” (Mar. 11, 2021),
https://packagingeurope.com/the-inside-story-of-the-mcdonalds-packaging-rebrand/347.article (last visited Mar. 30,
2022).
26
   McDonald’s 2021 Notice of Annual Shareholder’s Meeting and Proxy Statement, at 7,
https://corporate.mcdonalds.com/content/dam/gwscorp/assets/investors/2021%20Proxy%20Statement.pdf (last
visited Mar. 30, 2022).
27
   Id. at 10.



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         33.      However, as described in the next section, Defendant’s Product is not safe for

 consumption, and poses a critical risk to the safety and health of consumers.

         B.       PFAS In Food Packaging Is Harmful To Humans And The Environment

         34.      Consumer Reports’ study followed the 2018 groundbreaking research conducted

 by Toxic Free Future, which first detected PFAS in the Product packaging.28

         35.      Nonetheless, more than three years later, Consumer Reports revealed that PFAS

 had not been removed from the Product packaging. That results of that research is set out below:




 28
   Jen Dickman, et al. “Packaged in Pollution: Are food chains using PFAS in packaging?”
 https://toxicfreefuture.org/packaged-in-pollution/ (last visited Mar. 30, 2022).


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            36.      The reason companies like Defendant use PFAS in their food packaging products

 is simple: the coating acts “as a barrier to keep grease from escaping” and “from leaking into

 people’s hands.”29

            37.      But PFAS are not necessary for this intended outcome. Indeed, numerous of

 Defendant’s competitors’ products have been tested by researchers and found to contain no

 detectable levels of organic fluorine.30 Accordingly, Defendant would have had knowledge that

 they could product the Product packaging without the heightened levels of PFAS inherent in its

 current composition.

            38.      Yet, Defendant chose not to, and instead concealed this information from

 consumers, to increase by the cost savings associated with using these chemicals.

            39.      This has not been without consequences for consumers, as PFAS in food packaging

 migrates31 onto the food, exposing consumers to PFAS via ingestion. 32

            40.      Worryingly, all PFAS contain carbon-fluorine bonds—one of the strongest in

 nature—which make them highly persistent both in the environment and in human bodies.

            41.      That these substances are harmful to the human body is beyond dispute. In a 2019

 study, for example, the U.S. Department of Health and Human Services’ National Toxicology




 29
  Iowa State University, “New study calls for mitigation, monitoring of common grease-proofing food packaging
 chemicals,” News Service (Oct. 19, 2021), https://www.news.iastate.edu/news/2021/10/19/pfas2021 (last visited Mar.
 30, 2022).
 30
      See supra n. 27 and supra n. 6.
 31
    T.H. Begley, “Migration of fluorochemical paper additives from food-contact paper into foods and food
 simulants,” Food Additives & Contaminants: Part A, 25:3, 284-390,
 https://www.tandfonline.com/doi/abs/10.1080/02652030701513784
 32
   See Nat’l Toxicology Program, Per- and Polyfluoroalkyl Substances (PFAS),
 https://ntp.niehs.gov/whatwestudy/topics/pfas/index/html (Aug. 3, 2021) (last visited Mar. 30, 2022).



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 Program found that PFAS have adverse effects on human organ systems, with the greatest impact

 seen in the liver and thyroid hormone.33

         42.      A figure from the European Environmental Agency (“EEA”) shows that “effects of

 PFAS on human health:”34




         43.      The Centers for Disease Control’s Agency for Toxic Substances and Disease

 Registry has also recognized that exposure to high levels of PFAS may impact the immune system

 and reduce antibody responses to vaccines.35




 33
   Environmental Protection Agency, PFAS Explained, https://www.epa.gov/pfas/pfas-explained (last visited Mar. 30,
 2022).
 34
     European Environment Agency, “Emerging Chemical Risks in Europe – ‘PFAS’” (Dec. 12, 2019),
 https://www.eea.europa.edu/publications/emerging-chemicals-risks-in-europe (last visited Mar. 30, 2022).
 35
   Agency for Toxic Substances and Disease Registry, “What are the health effects of PFAS,”
 https://www.atsdr.cdc.gov/pfas/health-effects/index.html (June 24, 2020) (last accessed Mar. 30, 2022).


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            44.      In total, this research demonstrates that the risk of severe complications arising

 from exposure to PFAS is both credible and substantial.

            45.      The harmful risks also extend to the environment where, once introduced, they

 quickly spread around the globe through multiple pathways, as demonstrated in the figure below:36




            46.      Once introduced, PFAS cause many of the same problems for other animals as they

 do for humans, including harm to the immune system, kidney and liver function of several animals

 from dolphins to sea otters to polar bears.37 Often making their way to dinner tables of people

 who did not even purchase the Product.38

            C.       Defendant’s Misrepresentation and Omissions Are Actionable

            47.      Plaintiff and the Class were injured by the full purchase price of the Product

 because the Product is worthless, as it is marketed as safe and sustainable when it is not in fact

 safe and sustainable.




 36
      PFAS Free, “What are PFAS?” https://www.pfasfree.org.uk/about-pfas (last accessed Mar. 30, 2022).
 37
      Id.
 38
      Id.


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        48.      Plaintiff and Class Members bargained for products that are safe for consumption

 and sustainable, and were deprived of the basis of their bargain when Defendant sold them a

 product in packaging containing dangerous substances with well-known health and environmental

 consequences.

        49.      No reasonable consumer would expect that a product marketed as safe and

 sustainable would pose a risk to their health, safety, and wellbeing, or that it would contain

 dangerous PFAS, which are indisputably linked to harmful health effects in humans and the

 environment. Accordingly, Plaintiff and Class Members suffered economic injuries as a result of

 purchasing the Product.

        50.      As the Product exposes consumers to PFAS that pose a risk to consumers’ health,

 the Product is not fit for consumption by humans. Plaintiff and the Class are further entitled to

 damages for the injury sustained in being exposed to high levels of toxic PFAS, damages related

 to Defendant’s conduct, and injunctive relief.

        51.      Moreover, because these facts relate to a critical safety-related deficiency in the

 Product, Defendant was under a continuous duty to disclose to Plaintiff and Class Members the

 true standard, quality, and grade of the Product and to disclose that the Product contained

 substances known to have adverse health effects.         Nonetheless, Defendant concealed and

 affirmatively misrepresented the Product, as discussed herein.

        52.      Although Defendant is in the best position to know what content it placed on its

 website and in marketing materials during the relevant timeframe, and the knowledge that

 Defendant had regarding the PFAS and its failure to disclose the existence of PFAS in the Product

 to consumers, to the extent necessary, Plaintiff satisfies the requirements of Rule 9(b) by alleging

 the following facts with particularity:




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        53.     WHO: Defendant made material misrepresentations and/or omissions of fact about

 the Product through its labeling, website representations, and marketing statements, which include

 the statements that the Product is safe and sustainable. These representations constitute omitted

 material information regarding harmful chemicals in the Product packaging which is essential and

 integral to delivering the Product to the consumer.

        54.     WHAT: Defendant’s conduct here was, and continues to be, fraudulent because

 they omitted and concealed that the Product contains substances—PFAS—that are widely known

 to have significant health repercussions. Thus, Defendant’s conduct deceived Plaintiff and Class

 Members into believing that the Product is safe and sustainable, when it is not. Defendant knew

 or should have known that this information is material to reasonable consumers, including Plaintiff

 and Class Members in making their purchasing decisions, yet they continued to pervasively market

 the Product in this manner.

        55.     WHEN: Defendant made material misrepresentations and/or omissions during the

 putative class periods, including prior to and at the time Plaintiff and Class Members purchased

 the Product, despite its knowledge that the Product packaging contained harmful substances.

        56.     WHERE: Defendant’s marketing message was uniform and pervasive, carried

 through material misrepresentations and/or omissions on the labeling of the Product’s packaging,

 website, and through marketing materials.

        57.     HOW: Defendant made material misrepresentations and/or failed to disclose

 material facts regarding the Product, including the presence of PFAS.

        58.     WHY: Defendant made the material misrepresentations and/or omissions detailed

 herein for the express purpose of inducing Plaintiff, Class Members, and all reasonable consumers




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 to purchase and/or pay for the Product, the effect of which was that Defendant profited by selling

 the Product to hundreds of thousands of consumers.

        59.     INJURY: Plaintiff and Class Members purchased, paid a premium, or otherwise

 paid more for the Product when they otherwise would not have absent Defendant’s

 misrepresentations and/or omissions.

              TOLLING AND ESTOPPEL OF THE STATUTE OF LIMITATIONS

        60.     Defendant would have had actual knowledge for years that the Product packaging

 contains harmful chemicals such as PFAS.

        61.     Although Defendant was aware of the deception in its labeling given the inclusion

 of PFAS in the Product despite claims of the Product’s safety and sustainability, they took no steps

 to warn Plaintiff or Class Members of risks related to PFAS in the Product.

        62.     Despite its knowledge, Defendant has fraudulently misrepresented the risks of the

 Product. Defendant had a duty to disclose the true nature and quality of the Product and to disclose

 the health and safety risks associated with the Product.

        63.     Defendant made, and continue to make, affirmative misrepresentations to

 consumers, to promote sales of the Product, including that the Product is safe and sustainable.

        64.     Defendant concealed material facts that would have been important to Plaintiff and

 Class Members in deciding whether to purchase the Product. Defendant’s concealment was

 knowing, and it intended to, and did, deceive reasonable consumers, including Plaintiff and Class

 Members.      Accordingly, Plaintiff and Class Members reasonably relied upon Defendant’s

 concealment of these material facts and suffered injury as a proximate result of that justifiable

 reliance.




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           65.   The PFAS included in the formulation, design and/or manufacture of the Product

 packaging were not reasonably detectible to Plaintiff and Class Members.

           66.   At all times, Defendant actively and intentionally concealed the existence of the

 PFAS and failed to inform Plaintiff or Class Members of the existence of the PFAS. Accordingly,

 Plaintiff and Class Members’ lack of awareness was not attributable to a lack of diligence on their

 part.

           67.   Defendant’s statements, words, and acts were made for the purpose of suppressing

 the truth that the Product packaging contained harmful chemicals.

           68.   Defendant concealed or misrepresented the PFAS for the purpose of delaying

 Plaintiff and Class Members from filing a complaint on their causes of action.

           69.   As a result of Defendant’s active concealment of the PFAS and/or failure to inform

 Plaintiff and Class Members of the PFAS, any and all applicable statute of limitations otherwise

 applicable to the allegations herein have been tolled. Furthermore, Defendant is estopped from

 relying on any statute of limitations in light of its active concealment of the potentially harmful

 nature of the Product.

           70.   Further, the causes of action alleged herein did not accrue until Plaintiff and Class

 Members discovered that the Product contained PFAS, which, at the very earliest, would have

 been in March 2022. Plaintiff and Class Members had no realistic ability to discern that the

 Product contained PFAS until after the widely publicized Consumer Report’s study. Plaintiff and

 Class Members were hampered in their ability to discover their causes of action because of

 Defendant’s active concealment of the existence of PFAS in the Product and of the Product’s true

 nature.




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                                     CLASS ALLEGATIONS

        71.     Plaintiff brings this class action pursuant to 23(b)(2), 23(b)(3), and 23(c)(4) of the

 Federal Rules of Civil Procedure, individually and on behalf of a class defined as all persons in

 the United States who purchased the Product (the “Class”). Excluded from the Class are persons

 who made such purchases for purposes of resale.

        72.     Plaintiff also seeks to represent a subclass of all Class Members who purchased the

 Product in the State of California (the “California Subclass”). Excluded from the California

 Subclass are persons who made such purchases for purpose of resale.

        73.     As a result of additional information obtained through further investigation and

 discovery, the above-described Classes may be modified or narrowed as appropriate, including

 through the use of multi-state subclasses.

        74.     At this time, Plaintiff does not know the exact number of members of the

 aforementioned Class and Subclasses (“Class Members” or “Subclass Members”). However,

 given the nature of the claims and the number Defendant’s restaurants in the United States selling

 Defendant’s Product, Plaintiff believes that Class and Subclass Members are so numerous that

 joinder of all members is impracticable.

        75.     There is a well-defined community of interest in the questions of law and facts

 involved in this case. Questions of law and facts common to Class Members predominate over

 questions that may affect individual Class Members include:

                (a)    whether Defendant misrepresented and/or failed to disclose material facts

 concerning the Product;

                (b)    whether Defendant’s conduct was unfair and/or deceptive;




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                (c)     whether Defendant has been unjustly enriched as a result of the unlawful

 conduct alleged in this Complaint such that it would be inequitable for Defendant to retain the

 benefits conferred upon it by Plaintiff and the Class;

                (d)     whether Plaintiff and the Class sustained damages with respect to the

 common law claims asserted, and if so, the proper measure for their damages.

        76.     With respect to the California Subclass, additional questions of law and fact

 common to the members include whether Defendant violated the California Consumers Legal

 Remedies Act as well as the California Unfair Competition Law.

        77.     Plaintiff’s claims are typical of those of the Class because Plaintiff, like all Class

 Members, purchased, in a typical consumer setting, Defendant’s Product, and Plaintiff sustained

 damages from Defendant’s wrongful conduct.

        78.     Plaintiff is an adequate representative of the Class and Subclass because his

 interests do not conflict with the interests of the Class Members he seeks to represent, he has

 retained competent counsel experienced in prosecuting class actions, and he intends to prosecute

 this action vigorously. The interests of the Class Members will be fairly and adequately protected

 by Plaintiff and his counsel.

        79.     The class mechanism is superior to other available means for the fair and efficient

 adjudication of the claims of Class Members. Each individual Class Member may lack the

 resources to undergo the burden and expense of individual prosecution of the complex and

 extensive litigation necessary to establish Defendant’s liability. Individualized litigation increases

 the delay and expense to all parties and multiplies the burden on the judicial system presented by

 the complex legal and factual issues of this case. Individualized litigation also presents a potential

 for inconsistent or contradictory judgments. In contrast, the class action device presents far fewer




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 management difficulties and provides the benefits of single adjudication, economy of scale, and

 comprehensive supervision by a single court on the issue of Defendant’s liability. Class treatment

 of the liability issues will ensure that all claims and claimants are before this Court for consistent

 adjudication of liability issues.

                                             COUNT I
                        (Violation of California’s Unfair Competition Law,
                             Cal. Bus. & Prof. Code §§ 17200, et seq.)

         80.     Plaintiff realleges and reincorporates by reference all paragraphs alleged above.

         81.     Plaintiff brings this claim individually and on behalf of the California Subclass

 against Defendant.

         82.     California Business and Professions Code § 17200 prohibits “any unlawful, unfair,

 or fraudulent business act or practice.” For the reasons discussed above, Defendant has engaged

 in unlawful, unfair, and fraudulent business acts or practices in violation of California Business &

 Professions Code § 17200.

         83.     By committing the acts and practices alleged herein, Defendant has violated

 California’s Unfair Competition Law (“UCL”), Cal. Bus. & Prof. Code §§ 17200-17210, as to the

 California Subclass, by engaging in unlawful, fraudulent, and unfair conduct.

         84.     Defendant has violated the UCL’s proscription against engaging in Unlawful

 Business Practices as a result of its violations of the CLRA, Cal. Civ. Code § 1770(a)(5), (a)(7),

 and (a)(9) as alleged below, violations of California’s Song-Beverly Act, and violations of

 California’s False Advertising Law, in addition to breaches of warranty and violations of common

 law.

         85.     As more fully described above, Defendant’s misleading marketing, advertising,

 packaging, and labeling of the Product is likely to deceive reasonable consumers. In addition,




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 Defendant have committed unlawful business practices by, inter alia, making the representations

 and omissions of material facts, as set forth more fully herein, and violating the common law.

        86.        Plaintiff and the California Subclass Members reserve the right to allege other

 violations of law which constitute other unlawful business acts or practices.

        87.        Defendant has also violated the UCL’s proscription against engaging in Unfair

 Business Practices.        Defendant’s acts, omissions, misrepresentations, practices and non-

 disclosures as alleged herein also constitute “unfair” business acts and practices within the

 meaning of Business & Professions Code § 17200 et seq. in that its conduct is substantially

 injurious to consumers, offends public policy, and is immoral, unethical, oppressive, and

 unscrupulous as the gravity of the conduct outweighs any alleged benefits attributable to such

 conduct.

        88.        There were reasonably available alternatives to further Defendant’s legitimate

 business interests, other than the conduct described herein.

        89.        Defendant has further violated the UCL’s proscription against engaging in

 Fraudulent Business Practices. Defendant’s claims, nondisclosures and misleading statements

 with respect to the Product, as more fully set forth above, were false, misleading and/or likely to

 deceive the consuming public within the meaning of Business & Professions Code § 17200.

        90.        Plaintiff and the other California Subclass Members suffered a substantial injury

 by virtue of buying the Product that they would not have purchased absent Defendant’s unlawful,

 fraudulent, and unfair marketing, advertising, packaging, and omission about the defective nature

 of the Product.

        91.        There is no benefit to consumers or competition from deceptively marketing and

 omitting material facts about the true nature of the Product.




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        92.     Plaintiff and the other California Subclass Members had no way of reasonably

 knowing that the Product they purchased were not as marketed, advertised, packaged, or labeled.

 Thus, they could not have reasonably avoided the injury each of them suffered.

        93.     The gravity of the consequences of Defendant’s conduct as described outweighs

 any justification, motive, or reason therefore, particularly considering the available legal

 alternatives which exist in the marketplace, and such conduct is immoral, unethical, unscrupulous,

 offends established public policy, or is substantially injurious to Plaintiff and the other California

 Subclass Members.

        94.     Pursuant to California Business and Professional Code § 17203, Plaintiff and the

 California Subclass seek an order of this Court that includes, but is not limited to, an order

 requiring Defendant to (a) provide restitution to Plaintiff and the other California Subclass

 Members; (b) disgorge all revenues obtained as a result of violations of the UCL; and (c) pay

 Plaintiff’s and the California Subclass’ attorneys’ fees and costs.

                                           COUNT II
              (Violation of California’s Consumers Legal Remedies Act (“CLRA”),
                               California Civil Code § 1750, et seq.)
                                     (Injunctive Relief Only)

        95.     Plaintiff realleges and reincorporates by reference all paragraphs alleged above.

        96.     Plaintiff brings this claim individually and on behalf of the California Subclass

 against Defendant.

        97.     Civil Code § 1770(a)(5) prohibits “[r]epresenting that goods or services have

 sponsorship, approval, characteristics, ingredients, uses, benefits, or quantities which they do not

 have or that a person has a sponsorship, approval, status, affiliation, or connection which he or she

 does not have.”




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        98.     Civil § 1770(a)(7) prohibits “[r]epresenting that goods or services are of a particular

 standard, quality, or grade, or that goods are of a particular style or model, if they are of another.”

        99.     Civil § 1770(a)(9) prohibits “advertising goods or services with intent not to sell

 them as advertised.”

        100.    Defendant violated Civil Code § 1770(a)(5), (a)(7), and (a)(9) by holding out the

 Product as safe and sustainable, when in fact the Product is not safe, dangerous, and useless.

        101.    The Product is not safe because they contain an extraordinary level of PFAS in the

 packaging which is essential and integral to the delivery of the Product to consumers that subject

 unsuspecting consumers to significant health risks.

        102.    Defendant has exclusive knowledge of the Product’s composition, which was not

 known to Plaintiff or California Subclass Members.

        103.    Defendant made partial representations to Plaintiff and California Subclass

 Members, while suppressing the true nature of the Product. Specifically, by displaying the Product

 and describing the Product as safe and sustainable, including on the product packaging, on its

 website, and in its marketing, without disclosing that the Product was unsafe and detrimental to

 human health and the environment. As described above, Defendant was in receipt of knowledge

 pertaining to PFAS in their Product and yet for a period of several years has continued to Product.

 Moreover, Defendant affirmatively misrepresented the Product despite its knowledge that the

 Product was not as advertised.

        104.    Plaintiff and the California Subclass Members have suffered harm as a result of

 these violations of the CLRA because they have incurred charges and/or paid monies for the

 Product that they otherwise would not have incurred or paid, and were unknowingly exposed to a

 significant and substantial health risk.




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        105.    On March 30, 2022, prior to the filing of this Complaint, Plaintiff’s counsel sent

 Defendant a CLRA notice letter, which complies in all respects with California Civil Code §

 1782(a). The letter was sent via certified mail, return receipt requested, advising Defendant that

 tit was in violation of the CLRA and demanding that they cease and desist from such violations

 and make full restitution by refunding the monies received therefrom. The letter stated that it was

 sent on behalf of all other similarly situated purchasers. Because of the gravity of the harm alleged,

 Plaintiff has chosen not to wait for Defendant’s response. Plaintiff has also chosen not to wait for

 Defendant’s response because Defendant has long known about its conduct as described herein.

 Accordingly, Plaintiff’s letter would not have served the purpose of the letter.

        106.    Accordingly, Plaintiff and the California Subclass Members seek injunctive relief

 available under the CLRA. Should Defendant choose not to remedy the situation within 30 days

 of the letter, Plaintiff reserves the right to amend his complaint for damages and reasonable

 attorney’s fees.

                                          COUNT III
          (Breach of Implied Warranty Under the Song-Beverly Act, Cal. Civ. Code
                   § 1790, et seq. and California Commercial Code § 2314)

        107.    Plaintiff realleges and reincorporates by reference all paragraphs alleged above.

        108.    Plaintiff brings this claim individually and on behalf of the California Subclass

 against Defendant.

        109.    Under the Song-Beverly Consumer Warranty Act, Cal. Civ. Code § 1790. et seq.,

 and California Commercial Code § 2314, every sale of consumer goods in the State of California

 is accompanied by both a manufacturer’s and retailer seller’s implied warranty that the goods are

 merchantable, as defined in that Act. In addition, every sale of consumer goods in California is

 accompanied by both a manufacturer’s and retail seller’s implied warranty of fitness when the




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 manufacturer or retailer has reason to know that the goods as represented have a particular purpose

 and that the buyer is relying on the manufacturer’s or retailer’s skill or judgment to furnish suitable

 goods consistent with that represented purpose.

         110.    The Product at issue here is a “consumer good[]” within the meaning of Cal. Civ.

 Code § 1791(a).

         111.    Plaintiff and the Class Members who purchased the Product are “retail buyers”

 within the meaning of Cal. Civ. Code § 1791.

         112.    Defendant is in the business of manufacturing, assembling, and/or producing the

 Product and/or selling the Product to retail buyers, and therefore are a “manufacturer” and “seller”

 within the meaning of Cal. Civ. Code § 1791.

         113.    Defendant impliedly warranted to retailer buyers that the Product was merchantable

 in that they would: (a) pass without objection in the trade or industry under the contract description,

 and (b) were fit for the ordinary purposes for which the Product is used. For a consumer good to

 be “merchantable” under the Act, it must satisfy both of these elements. Defendant breached these

 implied warranties because the Product was unsafe for consumption. Therefore, the Product would

 not pass without objection in the trade or industry and were not fit for the ordinary purpose for

 which they are used.

         114.    Plaintiff and California Subclass Members purchased the Product in reliance upon

 Defendant’s skill and judgment in properly packaging and labeling the Product.

         115.    The Product was not altered by Plaintiff or the California Subclass Members.

         116.    The Product was defective at the time of sale when they it the exclusive control of

 Defendant. The issue as described in this complaint was latent in the product and not discoverable

 at the time of sale.




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         117.    Defendant knew that the Product would be purchased and used without additional

 testing by Plaintiff and Class Members.

         118.    As a direct and proximate cause of Defendant’s breach of the implied warranty,

 Plaintiff and Class Members have been injured and harmed because they would not have purchased

 the Product if they knew the truth about the Product, namely, that they were unfit for use and posed

 a significant safety risk.

         119.    Plaintiff and the California Subclass seek compensatory damages, attorney’s fees,

 costs, and any other just and proper relief available under law.

                                            COUNT IV
                         (Violation of California’s False Advertising Law,
                              Cal. Bus. & Prof. Code § 17500, et seq.)

         120.    Plaintiff realleges and reincorporates by reference all paragraphs alleged above.

         121.    Plaintiff brings this claim individually and on behalf of the California Subclass

 against Defendant.

         122.    Defendant’s acts and practices, as described herein, have deceived and/or are likely

 to continue to deceive Class Members and the public. As described above, and throughout this

 Complaint, Defendant misrepresented the Product as safe and sustainable when, in fact, the

 Product was not safe and not sustainable.

         123.    By its actions, Defendant disseminated uniform advertising regarding the Product

 to and across California. The advertising was, by its very nature, unfair, deceptive, untrue, and

 misleading within the meaning of Cal. Bus. & Prof. Code § 17500, et seq. Such advertisements

 were intended to and likely did deceive the consuming public for the reasons detailed herein.

         124.    The above-described false, misleading, and deceptive advertising Defendant

 disseminated continues to have a likelihood to deceive in that Defendant failed to disclose that the




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 Product contains substances that pose a significant risk to the health and wellbeing of Plaintiff and

 the Subclass Members as well as to the environment.

        125.    Defendant continues to misrepresent to consumers that the Product was safe and

 sustainable. However, as described, this is not the case.

        126.    In making and disseminating these statements, Defendant knew, or should have

 known, its advertisements were untrue and misleading in violation of California law. Plaintiff and

 other Class Members based their purchasing decisions on Defendant’s omitted material facts. The

 revenue attributable to the Product sold in those false and misleading advertisements likely

 amounts to tens of millions of dollars. Plaintiff and Class Members were injured in fact and lost

 money and property as a result.

        127.    The misrepresentations and non-disclosures by Defendant of the material facts

 described and detailed herein constitute false and misleading advertising and, therefore, constitutes

 a violation of Cal. Bus. & Prof. Code § 17500, et seq.

        128.    As a result of Defendant’s wrongful conduct, Plaintiff and Class Members lost

 money in an amount to be proven at trial. Plaintiff and Class Members are therefore entitled to

 restitution as appropriate for this cause of action.

        129.    Plaintiff and Class Members seek all monetary and non-monetary relief allowed by

 law, including restitution of all profits stemming from Defendant’s unfair, unlawful, and fraudulent

 business practices; declaratory relief; reasonable attorneys’ fees and costs under California Code

 of Civil Procedure § 1021.5; injunctive relief; and other appropriate equitable relief.

                                              COUNT V
                                               (Fraud)

        130.    Plaintiff realleges and reincorporates by reference all paragraphs alleged above.

        131.    Plaintiff brings this claim individually and on behalf of the Class.



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        132.    At the time Plaintiff and Class Members purchased the Product, Defendant did not

 disclose, but instead concealed and misrepresented, the Product as safe and sustainable.

        133.    Defendant affirmatively misrepresented the Product, giving the Product the

 appearance of a product that is indeed safe for use.

        134.    Defendant also knew that its omissions and misrepresentations regarding the

 Product were material, and that a reasonable consumer would rely upon Defendant’s

 representations (and corresponding omissions) in making purchasing decisions.

        135.    Plaintiff and Class Members did not know—nor could they have known through

 reasonable diligence—about the true nature of the Product.

        136.    Plaintiff and Class Members would have been reasonable in relying on Defendant’s

 misrepresentations (and corresponding omissions) in making their purchasing decisions.

        137.    Plaintiff and Class Members had a right to reply upon Defendant’s representations

 (and corresponding omissions) as Defendant maintained monopolistic control over knowledge of

 the true quality of the Product.

        138.    Plaintiff and Class Members sustained damages as a result of their reliance on

 Defendant’s omissions and misrepresentations, thus causing Plaintiff and Class Members to

 sustain actual losses and damages in a sum to be determined at trial, including punitive damages.

                                           COUNT VI
                                       (Constructive Fraud)

        139.    Plaintiff realleges and reincorporates by reference all paragraphs alleged above.

        140.    Plaintiff brings this claim individually and on behalf of the Class.

        141.    At the time Plaintiff and Class Members purchased the Product, Defendant did not

 disclose, but instead concealed and misrepresented, the Product as discussed herein.




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        142.    Defendant affirmatively misrepresented the Product, giving the Product the

 appearance of a product that is indeed safe for consumption and otherwise sustainable.

        143.    Defendant also knew that its omissions and misrepresentations regarding the

 Product were material, and that a reasonable consumer would rely upon its representations (and

 corresponding omissions) in making purchasing decisions.

        144.    Defendant had an obligation not to omit or misrepresent the Product because in

 addition to the fact that the Product pertained to matters of safety: (a) it was in the sole possession

 of such information; (b) it made partial representations regarding the quality of the Product; (c)

 Plaintiff and the Class Members relied upon Defendant to make full disclosures based upon the

 relationship between Plaintiff and Class Members, who relied on Defendant’s representations and

 omissions, and were reasonable in doing so, with the full knowledge of Defendant that it did and

 would have been reasonable in doing so.

        145.    Plaintiff and Class Members did not know—nor could they have known through

 reasonable diligence—about the true quality of the Product.

        146.    Plaintiff and Class Members would have been reasonable in relying on Defendant’s

 misrepresentations (and corresponding omissions) in making their purchasing decisions.

        147.    Plaintiff and Class Members had a right to rely upon Defendant’s representations

 (and corresponding omissions) as, in addition to the fact that the issue pertained to safety,

 Defendant maintained monopolistic control over knowledge of the true quality of the Product, and

 what information was available regarding the Product.

        148.    Defendant breached its duty to Plaintiff and Class Members to make full disclosures

 of the safety of their Product.




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           149.   Plaintiff and Class Members sustained damages as a result of their reliance on

 Defendant’s omissions and misrepresentations, and Defendant’s breach of its duty, thus causing

 Plaintiff and Class Members to sustain actual losses and damages in a sum to be determined at

 trial.

                                            COUNT VII
                                      (Fraudulent Inducement)

           150.   Plaintiff realleges and reincorporates by reference all paragraphs alleged above.

           151.   Plaintiff brings this claim individually and on behalf of the Class.

           152.   Defendant did not disclose, but instead concealed and misrepresented, the Product

 as discussed herein.

           153.   Defendant knew, or should have known, that the Product was falsely portrayed and

 that knowledge of the safety-related issues discussed throughout was withheld from the consumer

 public.

           154.   Defendant also knew that its omissions and misrepresentations regarding the

 Product was material, and that a reasonable consumer would rely on Defendant’s representations

 (and corresponding omissions) in making purchasing decision.

           155.   Plaintiff and Class Members did not know—nor could they have known through

 reasonable diligence—about the true quality of the Product.

           156.   Plaintiff and Class Members would have been reasonable in relying on Defendant’s

 misrepresentations (and corresponding omissions) in making their purchasing decisions.

           157.   Plaintiff and Class Members had a right to rely on Defendant’s representations (and

 corresponding omissions) as Defendant maintained a monopolistic control over the Product, and

 what information was available regarding the Product.




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        158.    Defendant intended to induce—and did, indeed, induce—Plaintiff and Class

 Members into purchasing the Product based upon its affirmative representations and omissions.

        159.    Plaintiff and Class Members sustained damages as a result of their reliance on

 Defendant’s omission and misrepresentations, thus causing Plaintiff and Class Members to sustain

 actual losses and damages in a sum to be determined at trial.

                                        COUNT VIII
                                   (Money Had and Received)

        160.    Plaintiff realleges and reincorporates by reference all paragraphs alleged above.

        161.    Plaintiff brings this claim individually and on behalf of the Class.

        162.    As a result of the Plaintiff’s and Class Members’ purchase of the Product,

 Defendant obtained money for its own use and benefit, and, as a result of its breaches of contract

 and breaches of the covenant of good faith and fair dealing implied in those agreements, became

 indebted to the Plaintiff and Class Members in an amount to be determined at trial.

        163.    No part of any of the monies due and owing to Plaintiff and Class Members has

 been repaid, although Plaintiff and Class Members demand repayment, leaving the balance due,

 owing, and unpaid in an amount to be determined at trial plus interest.

                                          COUNT IX
                             (Fraudulent Concealment or Omission)

        164.    Plaintiff realleges and reincorporates by reference all paragraphs alleged above.

        165.    Plaintiff brings this claim individually and on behalf of the Class.

        166.    At all relevant times, Defendant was engaged in the business of designing,

 manufacturing, distributing, and selling the Product.

        167.    Defendant, acting through its representatives or agents, delivered the Product to its

 own distributors and various other distribution channels.




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         168.    Defendant willfully, falsely, and knowingly omitted various material facts

 regarding the quality and character of the Product as discussed throughout.

         169.    Rather than inform consumers of the truth regarding the Product, Defendant

 misrepresented the quality of the Product as discussed herein at the time of purchase.

         170.    Defendant made these material misrepresentations to boost or maintain sales of the

 Product, and to falsely assure purchasers of the Product that Defendant is a reputable company and

 that its Product is safe for use and is otherwise sustainable. The false representations were material

 to consumers because the representations played a significant role in the value of the Product

 purchased.

         171.    Plaintiff and Class Members accepted the terms of use, which were silent on the

 true nature of the Product, as discussed throughout. Plaintiff and Class Members had no way of

 knowing that Defendant’s misrepresentations as to the Product, and had no way of knowing that

 Defendant’s misrepresentations were misleading.

         172.    Although Defendant had a duty to ensure the accuracy of the information regarding

 the Product, it did not fulfill these duties.

         173.    Defendant misrepresented material facts partly to pad and protect its profits, as it

 saw that profits and sales of the Product were essential for its continued growth and to maintain

 and grow its reputation as a premier designer and vendor of the Product. Such benefits came at

 the expense of Plaintiff and Class Members.

         174.    Plaintiff and Class Members were unaware of these material misrepresentations,

 and they would not have acted as they did had they known the truth. Plaintiff’s and class members’

 actions were justified given Defendant’s misrepresentations. Defendant was in the exclusive

 control of material facts, and such facts were not known to the public.




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        175.    Due to Defendant’s misrepresentations, Plaintiff and Class Members sustained

 injury due to the purchase of the Product that did not live up to its advertised representations.

 Plaintiff and Class Members are entitled to recover full refunds for the Product they purchased due

 to Defendant’s misrepresentations.

        176.    Defendant’s acts were done maliciously, oppressively, deliberately, and with intent

 to defraud, and in reckless disregard of Plaintiff, and Class Members’ rights and well-being, and

 in part to enrich itself at the expense of consumers. Defendant’s acts were done to gain commercial

 advantage over competitors, and to drive consumers away from consideration of competing

 products. Defendant’s conduct warrants an assessment of punitive damages in an amount sufficient

 to deter such conduct in the future.

                                          COUNT X
                                 (Fraudulent Misrepresentation)

        177.    Plaintiff realleges and reincorporates by reference all paragraphs alleged above.

        178.    Plaintiff brings this claim individually and on behalf of the Class.

        179.    Defendant falsely represented to Plaintiff and the Class that the Product was safe

 for use and otherwise sustainable.

        180.    Defendant intentionally, knowingly, and recklessly made these misrepresentations

 to induce Plaintiff and the Class to purchase the Product.

        181.    Defendant knew or should have known that its representations about the Product

 were false in that the Product is not safe for consumption as discussed throughout. Defendant

 knowingly allowed its packaging, labels, advertisements, promotional materials, and websites to

 intentionally mislead consumers, such as Plaintiff and the Class.

        182.    Plaintiff and the Class did in fact rely on these misrepresentations and purchased

 the Product to their detriment. Given the deceptive manner in which Defendant advertised,



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 marketed, represented, and otherwise promoted the Product, Plaintiff’s and the Class’ reliance on

 Defendant’s misrepresentations was justifiable.

        183.    As a direct and proximate result of Defendant’s conduct, Plaintiff and the Class

 have suffered actual damages in that they would not have purchased the Product at all had they

 known of the safety risks associated with the Product and that it does not conform to the Product’s

 labels, packaging, advertising, and statements.

        184.    Plaintiff and the Class seek actual damages, attorney’s fees, costs, and other such

 relief the Court deems proper.

                                           COUNT XI
                                  (Negligent Misrepresentation)

        185.    Plaintiff realleges and reincorporates by reference all paragraphs alleged above.

        186.    Plaintiff brings this claim individually and on behalf of the Class.

        187.    Defendant had a duty to Plaintiff and the Class to exercise reasonable and ordinary

 care in the developing, testing, manufacture, marketing, detailing, distribution, and sale of the

 Product.

        188.    Defendant breached its duty to Plaintiff and the Class by developing, testing,

 manufacturing, marketing, detailing, distributing, and selling the Product to Plaintiff and the Class

 that did not have the qualities, characteristics, and suitability for use as advertised by Defendant

 and by failing to promptly remove the Product from the marketplace or take other appropriate

 remedial action.

        189.    Defendant knew or should have known that the qualities and characteristics of the

 Product were not as advertised, marketed, detailed, or otherwise represented or suitable for its

 intended use and were otherwise not as warranted and represented by Defendant. Specifically,

 Defendant knew or should have known that the Product was not safe for use and not sustainable.



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          190.   As a direct and proximate result of Defendant’s conduct, Plaintiff and the Class

 have suffered actual damages in that they would not have purchased the Product at all had they

 known that the Product was not safe for consumption and that the Product does not conform to the

 Product’s labeling, packaging, advertising, and statements.

          191.   Plaintiff and the Class seek actual damages, attorney’s fees, costs, and any other

 just and proper relief available.

                                         COUNT XII
                              (Quasi-Contract / Unjust Enrichment)

          192.   Plaintiff realleges and reincorporates by reference all paragraphs alleged above.

          193.   Plaintiff brings this claim individually and on behalf of the Class.

          194.   To the extent required by law, this cause of action is alleged in the alternative to

 legal claims, as permitted under Fed. R. Civ. P. 8.

          195.   Plaintiff and Class Members conferred benefits on Defendant by purchasing the

 Product.

          196.   Defendant was unjustly enriched in retaining the revenues derived from Plaintiff

 and Class Members’ purchases of the Product.            Retention of those moneys under these

 circumstances is unjust and inequitable because Defendant failed to disclose that the Product was

 unfit for its intended purpose as it was unsafe for use. These omissions caused injuries to Plaintiff

 and Class Members because they would not have purchased the Product if the true facts were

 known.

          197.   Because Defendant’s retention of the non-gratuitous benefits conferred on them by

 Plaintiff and Class Members is unjust and inequitable, Defendant has been unjustly enriched in an

 amount to be determined at trial.




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                                           COUNT XIII
                                   (Breach of Express Warranty)

        198.    Plaintiff realleges and reincorporates by reference all paragraphs alleged above.

        199.    Plaintiff brings this claim individually and on behalf of the Class.

        200.    Plaintiff and Class Members formed a contract with Defendant at the time Plaintiff

 and Class Members purchased the Product.

        201.    The terms of the contract include the promises and affirmations of fact made by

 Defendant on the Product packaging and through marketing and advertising, as described above.

        202.    This labeling, marketing, and advertising constitute express warranties and became

 part of the basis of the bargain and are part of the standardized contract between Plaintiff and Class

 Members.

        203.    As set forth above, Defendant purport through its advertising, labeling, marketing,

 and packaging, to create an express warranty that the Product is safe for consumption and is

 otherwise sustainable.

        204.    Plaintiff and Class Members performed all conditions precedent to Defendant’s

 liability under this contract when they purchased the Product.

        205.    Defendant breached express warranties about the Product and its qualities because

 despite Defendant’s warranties that the Product is safe for consumption and is otherwise

 sustainable the Product is objectively not in fact safe for use and not sustainable. Thus, the Product

 did not confirm to Defendant’s affirmations and promises described above.

        206.    Plaintiff and each Class Member would not have purchased the Product had they

 known the true nature of the Product.




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        207.    As a result of Defendant’s breach of warranty, Plaintiff and each Class Member

 suffered and continues to suffer financial damage and injury, and are entitled to all damages, in

 addition to costs, interest and fees, including attorney’s fees, as allowed by law.

                                           COUNT XIV
                                    (Negligent Failure to Warn)

        208.    Plaintiff realleges and reincorporates by reference all paragraphs alleged above.

        209.    Plaintiff brings this claim individually and on behalf of the Class.

        210.    At all relevant times, Defendant were responsible for designing, constructing,

 testing, manufacturing, inspecting, distributing, labeling, marketing, advertising, and/or selling the

 Product and its packaging. At all relevant times, it was reasonably foreseeable by Defendant that

 the use of the Product in its intended manner involved substantial risk of injury and was

 unreasonably dangerous to Plaintiff and the Class as the ultimate users of the Product.

        211.    At all relevant times, Defendant knew or had reason to know of the risk of injury

 and the resultant harm that the Product posed to Plaintiff and Class Members, as the Defect existed

 at the time of its design, construction, manufacture, inspection, distribution, labeling, marketing,

 advertising, and/or sale, as described herein.

        212.    Defendant as the designer, manufacturer, tester, distributor, marketer, advertiser,

 and/or seller of the Product, had a duty to warn Plaintiff and the Class of all dangers associated

 with the intended use of the Product.

        213.    At minimum, the duty arose for Defendant to warn consumers that use of the

 Product could result in injury and was unreasonably dangerous.

        214.    Defendant was negligent and breached its duty of care by negligently failing to

 provide warnings to purchasers and users of the Product, including Plaintiff and the Class,

 regarding the true nature of the Product, its risks, and potential dangers.



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        215.   Defendant was negligent and breached its duty of care by concealing the risks of

 and failing to warn consumers that the Product contains ingredients known to cause adverse health

 effects in humans.

        216.   Defendant knew, or through the exercise of reasonable care, should have known of

 the inherent Defect and resulting dangers associated with using the Product as described herein,

 and knew that Plaintiff and Class Members could not reasonably be aware of those risks.

 Defendant failed to exercise reasonable care in providing Plaintiff and the Class with adequate

 warnings.

        217.   As a direct and proximate result of Defendant’s failure to adequately warn

 consumers that the use of the Product, including its intended use, could cause and has caused

 injuries and other damages, Plaintiff and the Class have suffered damages, as described herein.

 Plaintiff also requests medical monitoring as a means to safeguard their health and mitigate any

 damages for future medical treatment.

                                   REQUEST FOR RELIEF

        WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated, seeks

 judgment against Defendant, as follows:

               (a)     For an order certifying the Class under Fed. R. Civ. P. 23 and naming
                       Plaintiff as representative of the Class and the California Subclass and
                       Plaintiff’s attorneys as Class Counsel;

               (b)     For an order declaring the Defendant’s conduct violates the statutes
                       referenced herein;

               (c)     For an order finding in favor of Plaintiff, the Class, and the California
                       Subclass on all counts asserted herein;

               (d)     For compensatory, statutory, and punitive damages in amounts to be
                       determined by the Court and/or jury;

               (e)     For prejudgment interest on all amounts awarded;


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                 (f)     For an order of restitution and all other forms of equitable monetary relief;

                 (g)     For injunctive relief as pleaded or as the Court may deem proper;

                 (h)     For medical monitoring as a means to safeguard Plaintiff’s and Class
                         Members health and to mitigate any damages for future medical treatment;
                         and

                 (i)     For an order awarding Plaintiff and the Class and California Subclass their
                         reasonable attorneys’ fees and expenses and costs of suit.


                                  DEMAND FOR TRIAL BY JURY
         Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a trial by jury of any

 and all issues in this action so triable of right.


 Dated: March 31, 2022                            Respectfully submitted,

                                                  By: /s/ Carl V. Malmstrom
                                                  WOLF HALDENSTEIN ADLER
                                                   FREEMAN & HERZ LLC
                                                  Carl V. Malmstrom
                                                  111 W. Jackson St., Suite 1700
                                                  Chicago, IL 60604
                                                  Telephone: (312) 984-0000
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                                     Attorneys for Plaintiffs and the Putative Class




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         CLRA Venue Declaration Pursuant to California Civil Code Section 1780(d)

         I, Carl V. Malmstrom, declare as follows:

         1.      I am an attorney at law licensed to practice in the State of Illinois and a member of

 the bar of this Court. I am Of Counsel at Wolf Haldenstein Adler Freeman & Herz LLC, counsel

 of record for Plaintiff Ken McDowell. Plaintiff McDowell resides in San Rafael, California. I

 have personal knowledge of the facts set forth in this declaration and, if called as a witness, I could

 and would competently testify thereto under oath.

         2.      The Complaint filed in this action is filed in the proper place for trial under Civil

 Code Section 1780(d) in that a substantial portion of the events alleged in the Complaint occurred

 in the Northern District of Illinois. Additionally, Defendant maintains its principal place of

 business in this District and Defendant advertised, marketed, manufactured, distributed, and/or

 sold the Products at issue to Plaintiffs from this District.

         I declare under the penalty of perjury under the laws of the State of Illinois and the United

 States that the foregoing is true and correct and that this declaration was executed at Chicago,

 Illinois, this 31st day of March, 2022.



                                                   /s/ Carl V. Malmstrom
                                                       Carl V. Malmstrom




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                      EXHIBIT L
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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS

 JOSEPH COLLORA, individually and on
 behalf of all others similarly situated,                Case No.:

                                  Plaintiff,
                                                         CLASS ACTION COMPLAINT
                     v.
                                                         JURY TRIAL DEMANDED
 MCDONALD’S CORPORATION,

                                  Defendant.



                                   CLASS ACTION COMPLAINT


         Plaintiff Joseph Collora (“Plaintiff”) brings this action on behalf of himself and all others

 similarly situated against Defendant McDonald’s Corporation (“Defendant” or “McDonald’s”).

 Plaintiff makes the following allegations pursuant to the investigation of his counsel and based

 upon information and belief, except as to the allegations specifically pertaining to himself, which

 are based on personal knowledge.

                                     NATURE OF THE ACTION

         1.      Plaintiff brings this Class action lawsuit on behalf of himself and similarly situated

 consumers (“Class Members”) who purchased for personal, family, or household use, certain of

 Defendant’s Products – namely, Defendant’s Chicken McNuggets, Cookies, and/or French Fries

 (the “Products”), which are unfit for human consumption because the packaging in which it is

 contained—and is essential and integral to delivering the Product to the consuming public 1—


 1
   “Products” as used herein means the food items (e.g. Chicken McNuggets, Cookies, and/or French
 Fries) as well as any and all containers, wrappers, and packaging used to package, seal, protect, or deliver
 the food items to the consumer. These particular Products have been independently tested and found to
 contain PFAS.


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 contains unsafe per- and polyfluoroalkyl substances (“PFAS”). 2

         2.      PFAS are a group of synthetic chemicals known to be harmful to both the

 environment and humans. Because PFAS persist and accumulate over time, they are harmful even

 at very low levels. Indeed, “PFAS have been shown to have a number of toxicological effects in

 laboratory studies and have been associated with thyroid disorders, immunotoxic effects, and

 various cancers in epidemiology studies.”3

         3.      In fact, scientists are studying—and are extremely concerned about—how PFAS

 affect human health. Consequently, the CDC outlined “a host of health effects associated with

 PFAS exposure, including cancer, liver damage, decreased fertility, and increased risk of asthma

 and thyroid disease.”4

         4.      Despite Defendant’s outward representations to consumers that its Products are

 “safe,”5 and “sustainable,”6 including on its website and the Products’ packaging—which is an

 essential and integral part of delivering the Products to consumers—independent research




 2
   Discovery may reveal that additional McDonald’s products are within the scope of this Complaint.
 Accordingly, Plaintiff reserves the right to include additional food products identified throughout the
 course of discovery
 3
   Nicholas J. Heckert, et al. “Characterization of Per- and Polyfluorinated Alkyl Substances Present in
 Commercial Anti-fog Products and Their In Vitro Adipogenic Activity,” Environ. Sci. Technol. 2022, 56,
 1162-1173, 1162.
 4
    Harvard T.H. Chan Sch. Of Pub. Health, Health Risks of widely used chemicals may be
 underestimated (June 27, 2018), https://www.hsph.harvard.edu/news/hsph-in-the-news/pfas-health-risks-
 underestimated/ (last visited Mar. 30,
 2022).
 5
    See, e.g., McDonald’s, “Our Food Philosophy,” https://www.mcdonalds.com/us/en-us/about-our-
 food/our-food- philosophy.html (last visited Mar. 30, 2022) (“At McDonald’s . . . [w]e take great care that
 what we serve every day is safe, great quality, offers choice and is produced in a responsible way.”).
 6
   See, e.g., McDonald’s, “Packaging & Waste,” https://corporate.mcdonalds.com/corpmcd/our-purpose-
 and- impact/our-planet/packaging-and-waste.html (last visited Mar. 30, 2022) (“Meeting Customer
 Expectations of Convenience, Safety and Sustainability . . . Together with our Franchisees, suppliers and
 industry partners, we invest in research and development of new materials and packaging designs that fit
 our customers’ needs for convenience, food safety and sustainability.”).


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 conducted by Consumer Reports7 determined that the Products’ packaging contains total organic

 fluorine, a measure of PFAS used by Consumer Reports at levels of high concern:

                   •       For the French Fries, 250.3 parts per million (ppm) of organic fluorine;

                   •       For the Cookies: 250.0 ppm of organic fluorine; and

                   •       For the Chicken McNuggets: 219.0 ppm of organic fluorine. 8

          5.     As a point of reference, in 2023 California will ban food packaging that has over

 100 parts per million organic fluorine or more; Denmark already bans food packaging with just

 over 20 part per million organic fluorine, representing both jurisdiction’s level of concern for

 PFAS9.

          6.     The potential for contamination of a consumer’s food item with PFAS from

 packaging is omitted from Defendant’s packaging and marketing of the Products.

          7.     Thus, based on Defendant’s omissions, a reasonable consumer would expect that

 the Products can be safely purchased and consumed as marketed and sold. However, the

 Products are not safe, posing a significant health risk to unsuspecting consumers. Nor are the

 Products sustainable. Yet, neither before nor at the time of purchase does Defendant notify

 consumers like Plaintiff that the Products are unsafe and harmful to the environment, contains

 heightened levels of PFAS, or should otherwise be approached with caution.

          8.     Accordingly, Plaintiff brings his claims against Defendant individually and on

 behalf of a class of all other similarly situated for (1) Fraud; (2) Unjust Enrichment; (3) the New


 7
    Kevin Loria, “Dangerous PFAS Chemicals Are in Your Food Packaging,” Consumer Reports,
 https://www.consumerreports.org/pfas-food-packaging/dangerous-pfas-chemicals-are-in-your-food-
 packaging-a3786252074/ (last visited Apr. 12, 2022).
 8
    According to Toxin Free USA, “organic fluorine results identify a quantity of organofluorine
 compounds (e.g., PFAS) and excludes the possibility that fluorine may be present from other or natural
 sources.” See GMO Free v. CoverGirl Cosmetics, et al., Case No. 2021-CV-0046786B (D.C. Super. Dec.
 20, 2021), Docket No. 1, ¶¶ 30-31.
 9
   “Dangerous PFAS Chemicals Are in Your Food Packaging,” Consumer Reports. (Link supra.)


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 York General Business Law § 349; and (4) the New York General Business Law § 350.

                                          THE PARTIES

         9.     Plaintiff Joseph Collora is a natural person and citizen of New York who resides in

 Lindenhurst, New York. Plaintiff Collora has purchased Defendant’s Products, including the French

 Fries, Cookies, and Chicken McNuggets, at various points throughout the past several years during all

 applicable statutory periods, visiting the McDonald’s restaurant at 221 Sunrise Hwy,

 Lindenhurst, NY 11757 about twice monthly. Mr. Collora purchased Chicken McNuggets from

 this McDonald’s as recently as March 29, 2022; French Fries as recently as January 10, 2022;

 and Cookies as recently as January 10, 2022.

         10.    Prior to his purchase, Mr. Collora reviewed the labeling, packaging, and

 marketing materials of his purchased Products, including those set out herein, which included

 omissions of the potential for PFAS contamination. Mr. Collora understood that based on

 Defendant’s claims, that Products were safe for consumption, and otherwise a sustainable

 product. Mr. Collora reasonably relied on these representations and warranties in deciding to

 purchase the Products, and these representations and warranties were part of the basis of the

 bargain in that he would not have purchased the Products, or would not have purchased them on

 the same terms, if the true facts had been known. As a direct result of Defendant’s material

 misrepresentations and omissions, Mr. Collora suffered and continues to suffer, economic

 injuries.

         11.    Mr. Collora continues to desire to purchase the Products from Defendant, as

 he has done on a twice monthly basis. However, Mr. Collora is unable to determine if the

 Products are actually safe and sustainable. Mr. Collora understands that the composition of the

 Products may change over time. But as long as Defendant continues to market its Products as



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 “safe” and “sustainable” and further omit the potential for PFAS contamination, he will be unable

 to make informed decisions about whether to purchase Defendant’s Products and will be unable

 to evaluate the different prices between Defendant’s Products and its competitor’s Products. Mr.

 Collora is further likely to be repeatedly misled by Defendant’s conduct, unless and until

 Defendant is compelled to ensure that the Products are marketed, labeled, packaged, and

 advertised as safe and sustainable, are in fact safe and sustainable.

         12.         Defendant McDonald’s Corporation is a Delaware corporation with its principal

 place of business located in Chicago, Illinois.

                                     JURISDICTION AND VENUE

         13.         This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(d)(2)(A),

 as amended by the Class Action Fairness Act of 2005 (“CAFA”), because this case is a class action

 where the aggregate claims of all members of the proposed class are in excess of $5,000,000.00,

 exclusive of interest and costs, there are over 100 members of the putative class, and Plaintiff, as

 well as most members of the proposed class, are citizens of different states than Defendant.

         14.         This Court has personal jurisdiction over Defendant because Defendant’s principal

 place of business is located in this District, and the acts and transactions giving rise to this action

 occurred in this District.

         15.         This Court is the proper venue for this action pursuant to pursuant to 28 U.S.C. §

 1391 because Defendant’s principal place of business is located in this District and because a

 substantial part of the events, omissions, and acts giving rise to Plaintiff’s claims herein occurred

 in this District.




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                             COMMON FACTUAL ALLEGATIONS

        A.      Food And Consumer Preferences

        16.     According to a recent survey, chemicals in food (including carcinogens or cancer-

 causing chemicals) represents the most important food safety issue to consumers. 10 Consumers

 ranked this concern more highly than any other concern, including foodborne illness from bacteria

 and use of pesticides.11

        17.     At the same time, awareness of, and an inclination toward, safer products is guiding

 consumer choices. One survey, for instance, found that “when asked to choose the top three factors

 they prioritize when deciding between products, the majority of consumers surveyed said they

 prioritize the health/safety of products (71%) and products free of certain toxic chemicals

 (70%).”12

        18.     These findings extend to the packaging of products, with 82% of consumers

 agreeing that “it is important for brands to balance safety and concern for the environment when

 designing product packaging.”13

        19.     Additionally, “[t]he majority of shoppers . . . are willing to spend more for a product

 they know is safer, with 42% willing to spend 5-15% more, 36% willing to spend 16-25% more,

 and 17% willing to spend 1-5% more.” 14


 10
    Tom Neltner, “Chemicals in food continue to be a top food safety concern among consumers,” (Sept.
 16, 2021), https://blogs.edf.org/health/2021/09/16/chemicals-in-food-continue-to-be-a-top-food-safety-
 concern-among- consumers/ (last visited Mar. 30, 2021).
 11
    Id.
 12
     Made Safe, “What Shoppers Want: Safe & Healthy Products,” https://www.madesafe.org/wp-
 conent/uploads/2017/07/What-Shoppers-Want.pdf (last visited Mar. 22, 2022).
 13
    Gray, “New Consumer Packaging Trends Are Changing the Game for Food & Beverage
 Processors,” https://www.gray.com/insights/new-consumer-packaging-trends-are-changing-the-game-for-
 food-beverage- processors/ (last visited Mar. 22, 2022).
 14
    Made Safe, “What Shoppers Want,” at 3.


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        20.     Thus, there is enormous incentive for companies such as Defendant to market its

 Products as safe and sustainable. In fact, the vast majority of Defendant’s mission statement

 regarding food safety, in its own words, can be summed up as follows:

                “Providing safe food is our number one priority and a
                responsibility that we take seriously.”15

        21.     Defendant has amplified this ethos in its packaging, which, as Defendant notes,

 “lives seamlessly with the brand identity, as they were created in parallel over the course of four

 years. The point-of-view and principles hold true across every menu item to make way for a

 cohesive system[.]”16

        22.     Thus, when consumers, like Plaintiff interact with Defendant’s packaging, they

 expect it to embody Defendant’s brand, which as noted above, has continuously emphasized safety

 and sustainability.

        23.     As Defendant notes: “The safety and quality of our food is a top priority, and we

 are constantly innovating the strive to meet and exceed our customers’ expectations.” 17

        24.     However, as described in the next section, Defendant’s Products are not safe

 for consumption, and poses a critical risk to the safety and health of consumers.

        B.      PFAS In Food Packaging Is Harmful To Humans And The Environment

        25.     Consumer Reports’ study followed the 2018 groundbreaking research conducted

 by Toxic Free Future, which first detected PFAS in the Product packaging. 18



 15
    McDonald’s, “Food Safety, https://corporate.mcdonalds.com/corpmcd/our-purpose-and-impact/food-
 quality-and- sourcing/food-safety.html (last visited Mar. 30, 2022).
 16
     Packaging Europe, “The inside story of the McDonald’s packaging rebrand,” (Mar. 11, 2021),
 https://packagingeurope.com/the-inside-story-of-the-mcdonalds-packaging-rebrand/347.article    (last
 visited Mar. 30, 2022).
 17
    Id. at 10.
 18
     Jen Dickman, et al. “Packaged in Pollution: Are food chains using PFAS in packaging?”
 https://toxicfreefuture.org/packaged-in-pollution/ (last visited Mar. 30, 2022).


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          26.   Nonetheless, more than three years later, Consumer Reports revealed that PFAS

 had not been removed from the Products’ packaging. That results of that research is set out

 below:




          27.   The reason companies like Defendant use PFAS in their food packaging products

 is simple: the coating acts “as a barrier to keep grease from escaping” and “from leaking into

 people’s hands.”19

          28.   But PFAS are not necessary for this intended outcome. Indeed, numerous of

 Defendant’s competitors’ products have been tested by researchers and found to contain no




 19
    Iowa State University, “New study calls for mitigation, monitoring of common grease-proofing food
 packaging          chemicals,”         News            Service        (Oct.         19,       2021),
 https://www.news.iastate.edu/news/2021/10/19/pfas2021 (last visited Mar. 30, 2022).


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 detectable levels of organic fluorine.20 Accordingly, Defendant would have had knowledge that

 it could produce the Products’ packaging without the heightened levels of PFAS inherent in its

 current composition.

         29.     Yet, Defendant chose not to, and instead concealed this information from

 consumers, to increase the cost savings associated with using these chemicals.

         30.     This has not been without consequences for consumers, as PFAS in food packaging

 migrates21 onto the food, exposing consumers to PFAS via ingestion. 22

         31.     Worse yet, all PFAS contain carbon-fluorine bonds—one of the strongest in

 nature—which make them highly persistent both in the environment and in human bodies.

         32.     That these substances are harmful to the human body is beyond dispute. In a 2019

 study, for example, the U.S. Department of Health and Human Services’ National Toxicology

 Program found that PFAS have adverse effects on the human organ systems, with the greatest

 impact seen in the liver and thyroid hormone.23

         33.     The Centers for Disease Control’s Agency for Toxic Substances and Disease

 Registry has also recognized that exposure to high levels of PFAS may impact the immune system

 and reduce antibody responses to vaccines. 24

         34.     In total, this research demonstrates that the risk of severe complications arising

 from exposure to PFAS is both credible and substantial.

 20
    See supra n. 27 and supra n. 6
 21
    T.H. Begley, “Migration of fluorochemical paper additives from food-contact paper into foods and food
 simulants,”       Food     Additives      &      Contaminants:      Part       A,      25:3,      284-390,
 https://www.tandfonline.com/doi/abs/10.1080/02652030701513784
 22
       See Nat’l Toxicology Program, Per- and Polyfluoroalkyl Substances (PFAS),
 https://ntp.niehs.gov/whatwestudy/topics/pfas/index/html (Aug. 3, 2021) (last visited Mar. 30, 2022).
 23
     Environmental Protection Agency, PFAS Explained, https://www.epa.gov/pfas/pfas-explained (last
 visited Mar. 30, 2022).
 24
    Agency for Toxic Substances and Disease Registry, “What are the health effects of
 PFAS,” https://www.atsdr.cdc.gov/pfas/health-effects/index.html (June 24, 2020) (last
 accessed Mar. 30, 2022).


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        C.      Defendant’s Misrepresentation and Omissions Are Actionable

        35.     Plaintiff and the Class were injured by the full purchase price of the Product

 because the Products are worthless, as Defendant has omitted the PFAS contamination risk due

 to the Products’ packaging.

        36.     Plaintiff and Class Members bargained for products that are marketed and

 warranted as safe for consumption and sustainable, and were deprived of the basis of their

 bargain when Defendant sold them a product in packaging containing dangerous substances with

 well-known health and environmental consequences.

        37.     No reasonable consumer would expect that a product marketed and warranted as

 safe and sustainable would pose a risk to their health, safety, and well-being, or that it would

 contain dangerous PFAS, which are indisputably linked to harmful health effects in humans and

 the environment. Accordingly, Plaintiff and Class Members suffered economic injuries as a

 result of purchasing the Product.

        38.     As the Products expose consumers to PFAS that pose a risk to consumers’ health,

 the Products are not fit for consumption by humans. Plaintiff and the Class are further entitled to

 damages for the injury sustained in being exposed to high levels of toxic PFAS, damages related

 to Defendant’s conduct, and injunctive relief.

        39.     Moreover, because these facts relate to a critical safety-related deficiency in the

 Products, Defendant was under a continuous duty to disclose to Plaintiff and Class Members the

 true standard, quality, and grade of the Products and to disclose that the Products contained

 substances known to have adverse health effects. Nonetheless, Defendant concealed and

 affirmatively misrepresented the Products, as discussed herein.

        40.     Although Defendant is in the best position to know what content it placed on its




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 website and in marketing materials during the relevant timeframe, and the knowledge that

 Defendant had regarding the PFAS and its failure to disclose the existence of PFAS in the

 Products to consumers, to the extent necessary, Plaintiff satisfies the requirements of Rule 9(b)

 by alleging the following facts with particularity:

        41.     WHO: Defendant made material misrepresentations and/or omissions of fact about

 the Products through its labeling, website representations, and marketing statements, which

 include the statements and warranties that the Products are safe and sustainable. These

 representations constitute omitted material information regarding harmful chemicals in the

 Products’ packaging which is essential and integral to delivering the Products to the consumer.

        42.     WHAT: Defendant’s conduct here was, and continues to be, fraudulent because

 it omitted and concealed that the Products contain substances—PFAS—that are widely known to

 have significant health repercussions. Thus, Defendant’s conduct deceived Plaintiff and Class

 Members into believing that the Products are safe and sustainable, when they is not. Defendant

 knew or should have known that this information is material to reasonable consumers, including

 Plaintiff and Class Members in making their purchasing decisions, yet they continued to

 pervasively market the Products in this manner.

        43.     WHEN: Defendant made material misrepresentations and/or omissions during the

 putative class periods, including prior to and at the time Plaintiff and Class Members purchased

 the Products, despite its knowledge that the Products’ packaging contained harmful substances.

        44.     WHERE: Defendant’s marketing message was uniform and pervasive, carried

 through material misrepresentations and/or omissions on the labeling of the Products’ packaging,

 website, and through marketing materials.

        45.     HOW: Defendant made material misrepresentations and/or failed to disclose



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 material facts regarding the Products, including the presence of PFAS.

        46.     WHY: Defendant made the material misrepresentations and/or omissions detailed

 herein for the express purpose of inducing Plaintiff, Class Members, and all reasonable consumers

 to purchase and/or pay for the Products, the effect of which was that Defendant profited by

 selling the Products to millions of consumers.

        47.     INJURY: Plaintiff and Class Members purchased, paid a premium, or otherwise

 paid more for the Products when they otherwise would not have absent Defendant’s

 misrepresentations and/or omissions.

              TOLLING AND ESTOPPEL OF THE STATUTE OF LIMITATIONS

        48.     Defendant would have had actual knowledge for years that the Products’

 packaging contains harmful chemicals such as PFAS.

        49.     Although Defendant was aware of the deception in its labeling given the inclusion

 of PFAS in the Products despite claims of the Products’ safety and sustainability, Defendant took

 no steps to warn Plaintiff or Class Members of risks related to PFAS in the Products.

        50.     Despite its knowledge, Defendant has fraudulently misrepresented the risks of the

 Products. Defendant had a duty to disclose the true nature and quality of the Products and to

 disclose the health and safety risks associated with the Products.

        51.     Defendant made, and continues to make, affirmative misrepresentations to

 consumers, to promote sales of the Products, including that the Products are safe and sustainable.

        52.     Defendant concealed material facts that would have been important to Plaintiff and

 Class Members in deciding whether to purchase the Products. Defendant’s concealment was

 knowing, and it intended to, and did, deceive reasonable consumers, including Plaintiff and Class

 Members. Accordingly, Plaintiff and Class Members reasonably relied upon Defendant’s



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 concealment of these material facts and suffered injury as a proximate result of that justifiable

 reliance.

         53.    The PFAS included in the formulation, design and/or manufacture of the Products

 packaging were not reasonably detectible to Plaintiff and Class Members.

         54.    At all times, Defendant actively and intentionally concealed the existence of the

 PFAS and failed to inform Plaintiff or Class Members of the existence of the PFAS. Accordingly,

 Plaintiff and Class Members’ lack of awareness was not attributable to a lack of diligence on their

 part.

         55.    Defendant’s statements, words, and acts were made for the purpose of suppressing

 the truth that the Products’ packaging contained harmful chemicals.

         56.    Defendant concealed or misrepresented the PFAS for the purpose of delaying

 Plaintiff and Class Members from filing a complaint on their causes of action.

         57.    As a result of Defendant’s active concealment of the PFAS and/or failure to inform

 Plaintiff and Class Members of the PFAS, any and all applicable statute of limitations otherwise

 applicable to the allegations herein have been tolled. Furthermore, Defendant is estopped from

 relying on any statute of limitations in light of its active concealment of the potentially harmful

 nature of the Products.

         58.    Further, the causes of action alleged herein did not accrue until Plaintiff and Class

 Members discovered that the Products contained PFAS, which, at the very earliest, would have

 been in March 2022. Plaintiff and Class Members had no realistic ability to discern that the

 Products contained PFAS until after the widely publicized Consumer Reports study. Plaintiff and

 Class Members were hampered in their ability to discover their causes of action because of

 Defendant’s active concealment of the existence of PFAS in the Products and of the Products’



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 true nature.

                                      CLASS ALLEGATIONS

         59.    Plaintiff brings this action on behalf of himself and the following Classes pursuant

 to Fed. R. Civ. P. 23(a), (b)(2) and/or (b)(3). Specifically, the Classes are defined as:

                National Class: All persons within the United States who, during the maximum
                period of time permitted by law, purchased Defendant’s Products primarily for
                personal, family, or household purposes, and not for resale.


                New York Subclass: All persons residing in New York who, during the
                maximum period of time permitted by law, purchased the Products primarily for
                personal, family or household purposes, and not for resale.

         60.    Excluded from the Classes are (a) any person who purchased the Products for

 resale and not for personal or household use, (b) any person who signed a release of any

 Defendant in exchange for consideration, (c) any officers, directors or employees, or immediate

 family members of the officers, directors or employees, of any Defendant or any entity in which

 a Defendant has a controlling interest, (d) any legal counsel or employee of legal counsel for any

 Defendant, (e) the presiding Judge in this lawsuit, as well as the Judge’s staff and their

 immediate family members, and (f) Class Counsel.

         61.    As a result of additional information obtained through further investigation and

 discovery, the above-described Classes may be modified or narrowed as appropriate.

         62.    At this time, Plaintiff does not know the exact number of members of the

 aforementioned Class and Subclasses (referred to herein collectively as “Class Members” or

 “Subclass Members”). However, given the nature of the claims and the number Defendant’s

 restaurants in the United States selling Defendant’s Products, Plaintiff believes that Class and

 Subclass Members are so numerous that joinder of all members is impracticable.

         63.    There is a well-defined community of interest in the questions of law and facts


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 involved in this case. Questions of law and facts common to Class Members predominate over

 questions that may affect individual Class Members include:

                 (a)    whether the Products contain PFAS;

                 (b)    whether Defendant misrepresented and/or failed to disclose material facts
                        concerning the Products;

                 (c)    whether Defendant’s conduct was unfair and/or deceptive;

                 (d)    whether Defendant has been unjustly enriched as a result of the unlawful
                        conduct alleged in this Complaint such that it would be inequitable for
                        Defendant to retain the benefits conferred upon it by Plaintiff and the
                        Class;

                 (e)    whether Plaintiff and the Class sustained damages with respect to the
                        common law claims asserted, and if so, the proper measure for their
                        damages.

        64.      With respect to the New York Subclass, additional questions of law and fact

 common to the members include whether Defendant violated New York General Business Law

 §§ 349 & 350.

        65.      Plaintiff’s claims are typical of those of the Class because Plaintiff, like all Class

 Members, purchased, in a typical consumer setting, Defendant’s Products at issue in this

 Complaint—Chicken McNuggets, Cookies, and French Fries—and Plaintiff sustained damages

 from Defendant’s wrongful conduct.

        66.      Plaintiff is an adequate representative of the Class and Subclass because his

 interests do not conflict with the interests of the Class Members he seeks to represent, he has

 retained competent counsel experienced in prosecuting class actions, and he intends to prosecute

 this action vigorously. The interests of the Class Members will be fairly and adequately protected

 by Plaintiff and his counsel.

        67.      The class mechanism is superior to other available means for the fair and efficient



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 adjudication of the claims of Class Members. Each individual Class Member may lack the

 resources to undergo the burden and expense of individual prosecution of the complex and

 extensive litigation necessary to establish Defendant’s liability. Individualized litigation increases

 the delay and expense to all parties and multiplies the burden on the judicial system presented by

 the complex legal and factual issues of this case. Individualized litigation also presents a potential

 for inconsistent or contradictory judgments. In contrast, the class action device presents far fewer

 management difficulties and provides the benefits of single adjudication, economy of scale, and

 comprehensive supervision by a single court on the issue of Defendant’s liability. Class

 treatment of the liability issues will ensure that all claims and claimants are before this Court for

 consistent adjudication of liability issues.

                                              COUNT I
                                      COMMON LAW FRAUD
                                   (On Behalf of the National Class,
                            or in the alternative the New York Subclass)

         68.      Plaintiff realleges and reincorporates by reference all paragraphs alleged above.

         69.      Plaintiff brings this claim individually and on behalf of the National Class, or in

 the alternative, the New York Subclass.

         70.      Rule 9(b) of the Federal Rules of Civil Procedures provides that “[i]n alleging

 fraud or mistake, a party must state with particularity the circumstances constituting fraud or

 mistake.” To the extent necessary, as detailed in the paragraphs above and below, Plaintiff has

 satisfied the requirements of Rule 9(b) by establishing the following elements with sufficient

 particularity:

                   •       WHO: Defendant made material misrepresentations and/or omissions of

                           fact about the Products through its labeling, website representations, and

                           marketing statements, which include the statements and warranties that


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                     the Products are safe and sustainable. These representations constitute

                     omitted material information regarding harmful chemicals in the

                     Products’ packaging which is essential and integral to delivering the

                     Products to the consumer.

               •     WHAT: Defendant’s conduct here was, and continues to be, fraudulent

                     because it omitted and concealed that the Products contain substances—

                     PFAS—that are widely known to have significant health repercussions.

                     Thus, Defendant’s conduct deceived Plaintiff and Class Members into

                     believing that the Products are safe and sustainable, when they are not.

                     Defendant knew or should have known that this information is material to

                     reasonable consumers, including Plaintiff and Class Members in making

                     their purchasing decisions, yet it continued to pervasively market the

                     Products in this manner.

               •     WHEN: Defendant made material misrepresentations and/or omissions

                     during the putative class periods, including prior to and at the time

                     Plaintiff and Class Members purchased the Products, despite its

                     knowledge that the Products’ packaging contained harmful substances.

               •     WHERE: Defendant’s marketing message was uniform and pervasive,

                     carried through material misrepresentations and/or omissions on the

                     labeling of the Products’ packaging, website, and through marketing

                     materials.

               •     HOW: Defendant made material misrepresentations and/or failed to

                     disclose material facts regarding the Products, including the presence of




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                         PFAS.

                  •      WHY:      Defendant made the material misrepresentations and/or

                         omissions detailed herein for the express purpose of inducing Plaintiff,

                         Class Members, and all reasonable consumers to purchase and/or pay for

                         the Products, the effect of which was that Defendant profited by selling

                         the Products to millions of consumers.


        71.      As alleged herein, at the time Plaintiff and Class Members purchased the

 Products, Defendant did not disclose, but instead concealed and misrepresented the Products as

 safe and sustainable.

        72.      Defendant also knew that its omissions and misrepresentations regarding the

 Product were material, and that a reasonable consumer would rely upon Defendant’s

 representations (and corresponding omissions) in making purchasing decisions; nevertheless,

 Defendant did make such omissions in their marketing, advertising, and on the Products’

 labeling. In reliance on these representations and omissions, Plaintiff and Class Members were

 induced to, and did, pay monies to purchase the Products.

        73.      Plaintiff and Class Members did not know—nor could they have known through

 reasonable diligence—about the true nature of the Products.

        74.      Plaintiff and Class Members would have been reasonable in relying on

 Defendant’s misrepresentations (and corresponding omissions) in making their purchasing

 decisions.

        75.      Plaintiff and Class Members sustained damages as a result of their reliance on

 Defendant’s omissions and misrepresentations, thus causing Plaintiff and Class Members to

 sustain actual losses and damages in a sum to be determined at trial, including punitive damages.



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                                                COUNT II
                                        UNJUST ENRICHMENT
                                     (On Behalf of the National Class
                              or in the alternative the New York Subclass)

        76.     Plaintiff realleges and reincorporates by reference all paragraphs alleged above.

        77.     Plaintiff brings this claim individually and on behalf of the National Class, or in

 the alternative the New York Subclass.

        78.     To the extent required by law, this cause of action is alleged in the alternative to

 legal claims, as permitted under Fed. R. Civ. P. 8.

        79.     Plaintiff and Class Members conferred benefits on Defendant by purchasing the

 Products.

        80.     Defendant was unjustly enriched in retaining the revenues derived from Plaintiff

 and Class Members’ purchases of the Products. Retention of those monies under these

 circumstances is unjust and inequitable because Defendant failed to disclose that the Products

 were unfit for their intended purpose as they were unsafe for use. These omissions caused injuries

 to Plaintiff and Class Members because they would not have purchased the Products if the true

 facts were known.

        81.     Because Defendant’s retention of the non-gratuitous benefits conferred on them by

 Plaintiff and Class Members is unjust and inequitable, Defendant has been unjustly enriched in an

 amount to be determined at trial.

                                   COUNT III
       VIOLATION OF THE NEW YORK DECEPTIVE TRADE PRACTICES ACT,
                  NEW YORK GEN. BUS. LAW § 349, ET SEQ.
                      (On behalf of the New York Subclass)

        82.     Plaintiff incorporates by reference all of the foregoing paragraphs of this

 Complaint as if fully stated herein.

        83.     By reason of the acts set forth above, Defendant has been and is engaged in


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 deceptive acts or practices in the conduct of a business, trade, or commerce in violation of New

 York’s General Business Law § 349.

        84.     Defendant engaged in unfair and/or deceptive conduct by, inter alia, omitting the

 presence of PFAS in the Products’ packaging.

        85.     The public is likely to be damaged because of Defendant’s deceptive trade

 practices or acts. Specifically, Defendant’s false, deceptive, or misleading statements implicate

 the health and safety of those consumers deceived by Defendant.

        86.     Defendant directs its conduct at consumers, as Defendant’s omissions are

 contained in marketing targeted toward consumers, including social media and retail product

 packaging. As such, Defendant’s conduct as alleged herein is consumer oriented.

        87.     Defendant’s deceptive acts are likely to mislead a reasonable consumer acting

 reasonably under the circumstances.

        88.     Defendant’s deceptive acts affect the public interest in the state of New York

 because, upon information and belief, consumers located in New York have purchased

 Defendant’s Products in reliance on Defendant’s false, deceptive, or misleading statements.

        89.     As a result of Defendant’s use of employment of unfair or deceptive acts or

 business practices, Plaintiff and each of the other Members of the New York Subclass have

 sustained damages in an amount to be proven at trial.

                                  COUNT IV
       VIOLATION OF THE NEW YORK DECEPTIVE TRADE PRACTICE ACT,
                  NEW YORK GEN. BUS. LAW § 350, ET SEQ.
                     (On behalf of the New York Subclass)

        90.     Plaintiff incorporates by reference all of the foregoing paragraphs of this

 Complaint as if fully stated herein.

        91.     Defendant has made material, false or misleading statements or representations of



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 fact about the Products. Specifically, Defendant has literally, impliedly, or by necessary

 implication omitted the presence of PFAS in the packaging, thereby representing that the

 Products do not contain PFAS, which is not true.

        92.    Defendant’s acts constitute false advertising in the conduct of business, trade, or

 commerce, or in the furnishing of any service in the state of New York in violation of New

 York’s General Business Law § 350.

        93.    The public is likely to be damaged because of Defendant’s deceptive trade

 practices or acts. Specifically, Defendant’s false or misleading statements implicate the health

 and safety of those consumers deceived by Defendant.

        94.    As such, Defendant’s conduct as alleged herein is consumer oriented.

        95.    As a result of Defendant’s material, false or misleading statements or

 representations of fact about the Products, Plaintiff and each of the other Members of the New

 York Subclass have sustained damages in an amount to be proven at trial.

                                   REQUEST FOR RELIEF

        WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated, seeks

 judgment against Defendant, as follows:

                 (a)    For an order certifying the Class under Fed. R. Civ. P. 23 and
                        naming Plaintiff as representative of the Class and the New York
                        Subclass and Plaintiff’s attorneys as Class Counsel;

                 (b)    For an order declaring the Defendant’s conduct violates the
                        statutes referenced herein;

                 (c)    For an order finding in favor of Plaintiff, the Class, and the New
                        York Subclass on all counts asserted herein;

                 (d)    For compensatory, statutory, and punitive damages in amounts to
                        be determined by the Court and/or jury;

                 (e)    For prejudgment interest on all amounts awarded;


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                  (f)      For an order of restitution and all other forms of equitable monetary
                           relief;

                  (g)      For injunctive relief as pleaded or as the Court may deem proper;

                  (h)      For an order awarding Plaintiff and the Class and Illinois Subclass their
                           reasonable attorneys’ fees and expenses and costs of suit.


                                  DEMAND FOR TRIAL BY JURY

        Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a trial by jury of any

 and all issues in this action so triable of right.

  Dated: April 13, 2022                               Respectfully submitted,

                                                  By: /s/ Kevin Laukaitis
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                                                  Jonathan Shub**
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                                                  *Designated as Local Counsel
                                                  ** Admitted to Illinois General Bar


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                                     Attorneys for Plaintiff and the
                                     Proposed Classes




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                     EXHIBIT M
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                       UNITED STATES DISTRICT COURT
              FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                                  Eastern Division

   Ken McDowell
                                   Plaintiff,
   v.                                                Case No.: 1:22−cv−01688
                                                     Honorable Franklin U. Valderrama
   McDonald's Corporation
                                   Defendant.



                           NOTIFICATION OF DOCKET ENTRY



   This docket entry was made by the Clerk on Friday, May 13, 2022:


          MINUTE entry before the Honorable Franklin U. Valderrama: Plaintiff Ken
   McDowellto's unopposed motion to relate cases pursuant to Local Rule 40.4 [9] is
   granted. Mailed notice (axc).




   ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
   Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
   generated by CM/ECF, the automated docketing system used to maintain the civil and
   criminal dockets of this District. If a minute order or other document is enclosed, please
   refer to it for additional information.
   For scheduled events, motion practices, recent opinions and other information, visit our
   web site at www.ilnd.uscourts.gov.
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                                                 United States District Court
                                                 Northern District of Illinois

In the Matter of

 Joseph Collora                                              District Judge Franklin U. Valderrama
                          v.                                                Case No. 22-CV-1904
                                                                            Designated Magistrate Judge
 McDonald's Corporation                                                               Jeffrey Cummings



                               FINDING OF RELATEDNESS PURSUANT TO
                                          LOCAL RULE 40.4

   In accordance with the provisions of Local Rule 40.4 of this Court, I find the above captioned
case, presently pending on the calendar of Judge Sara L. Ellis to be related to 1:22-cv-01688
which is pending on my calendar. Accordingly, I request that the Executive Committee order
said case to be reassigned to my calendar as a related case.



                                                            ________________________________
                                                                Judge Franklin U. Valderrama

Date: Friday, May 13, 2022



                               ORDER OF THE EXECUTIVE COMMITTEE

   IT IS HEREBY ORDERED that the above captioned case be reassigned to the calendar of
Judge Franklin U. Valderrama


                                                       ENTER

                                     FOR THE EXECUTIVE COMMITTEE




                                                            _____________________________________
                                                             Chief Judge Rebecca R. Pallmeyer
Dated:Monday, May 16, 2022

District Reassignment - Finding of Relatedness
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                         EXHIBIT R
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                    SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
                                  CIVIL DIVISION

 GMO FREE USA                                    :
                                                 :
 v.                                              :                   Case No. 2021 CA 004786 B
                                                 :
 COVER GIRL COSMETICS, et al.                    :

                                             ORDER

        The Court grants the motion to dismiss of Coty, Inc. and Noxell Corporation, the only

 defendants named in the first amended complaint (“FAC”) of plaintiff GMO Free USA, d/b/a

 Toxin Free USA (“TFUSA”). The Court also grants defendants’ motion for judicial notice of

 certain documents.

 I.     BACKGROUND

        TFUSA is a nonprofit, public interest organization dedicated to consumer protection and

 education. TFUSA alleges that it tested one of defendants’ products (CoverGirl TruBlend

 Mineral Pressed Powder) for organic fluorine, fluorine is an indicator that a product contains per-

 and polyfluoroalkyl substances (“PFAS”), and PFAS chemicals are damaging to human health

 and to the environment. Id. ¶¶ 31-35, 37-39. TFUSA alleges that defendants violated the D.C.

 Consumer Protection Procedures Act (“CPPA”) by misrepresenting the safety and sustainability

 of this product.

        Under a briefing schedule approved by the Court, Coty and Noxell filed a motion to

 dismiss (“Motion”), TFUSA filed an opposition (“Opp.”), and defendants filed a reply (“Reply”).

        Defendants also filed a related motion for judicial notice. TFUSA did not file an

 opposition.




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 II.     MOTION FOR JUDICIAL NOTICE

         Defendants ask the Court to take judicial notice of four documents relating to their

 motion to dismiss: (1) an EPA publication indicating, among other things, that there are

 thousands of different PFAS with potentially varying health and environmental effects (Ex. A);

 (2) a webpage of an organization cited by TFUSA in the FAC (the Environmental Working

 Group) indicating that PTFE is not toxic or environmentally unsafe (Ex. B); (3) the product and

 label for CoverGirl TruBlend Mineral Pressed Powder disclosing PTFE as an ingredient (Ex. C);

 and (4) an excerpt of the CTFA International Cosmetic Ingredient Dictionary that includes PTFE

 (Ex. D). TFUSA did not respond in the time allowed by Rule 12-I(e).

         The Court exercises its discretion to treat the motion as conceded. Conceded substantive

 motions may generally be granted “where the movant has established a prima facie entitlement to

 relief.” See District of Columbia v. Davis, 811 A.2d 800, 804 (D.C. 2002). The Court treats the

 motion for judicial notice as a substantive motion, and defendants have established a prima facie

 entitlement to the relief that they seek, demonstrating that no exhibit is “subject to reasonable

 dispute in that it is either (1) generally known within the territorial jurisdiction of the trial court

 or (2) capable of accurate and ready determination by resort to sources whose accuracy cannot

 reasonably be questioned,” or that they are “matters of public record.” See Christopher v.

 Aguigui, 841 A.2d 310, 311 n.2 (D.C. 2003) (quoting Fed. R. Evid. 201(b)); Bostic v. District of

 Columbia, 906 A.2d 327, 332 (D.C. 2006).

 III.    MOTION TO DISMISS

         The Court grants defendants’ motion to dismiss because TFUSA does not allege specific

 facts supporting a plausible inference that defendants engaged in any unfair trade practice in

 violation of the CPPA.



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        A.      The Rule 12(b)(6) standard

        “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

 accepted as true, to state a claim to relief that is plausible on its face.” Potomac Development

 Corp. v. District of Columbia, 28 A.3d 531, 544 (D.C. 2011) (cleaned up). “A claim has facial

 plausibility when the plaintiff pleads factual content that allows the court to draw the reasonable

 inference that the defendant is liable for the misconduct alleged.” Id. (cleaned up). “Where a

 complaint pleads facts that are merely consistent with a defendant’s liability, it stops short of the

 line between possibility and plausibility of entitlement to relief.” Id. (cleaned up). “To satisfy

 Rule 8(a), plaintiffs must nudge their claims across the line from conceivable to plausible.”

 Tingling-Clemons v. District of Columbia, 133 A.3d 241, 246 (D.C. 2016) (cleaned up).

        The Court should “draw all inferences from the factual allegations of the complaint in the

 plaintiff’s favor.” Carlyle Investment Management, LLC v. Ace American Insurance Co., 131

 A.3d 886, 894 (D.C. 2016) (cleaned up). “A complaint should not be dismissed because a court

 does not believe that a plaintiff will prevail on its claim; indeed it may appear on the face of the

 pleadings that a recovery is very remote and unlikely but that is not the test.” Id. (cleaned up).

 However, legal conclusions “are not entitled to the assumption of truth,” Potomac Development

 Corp., 28 A.3d at 544 (cleaned up), so “[t]hreadbare recitals of the elements of a cause of action,

 supported by mere conclusory statements, do not suffice.” Sundberg v. TTR Realty, LLC, 109

 A.3d 1123, 1128-29 (D.C. 2015) (cleaned up). “A plaintiff’s obligation to provide the grounds

 of his entitlement to relief requires more than labels and conclusions, and a formulaic recitation

 of the elements of a cause of action will not do.” Id. (cleaned up).

        The Court considers “an alleged unfair trade practice in terms of how the practice would

 be viewed and understood by a reasonable consumer.” Saucier v. Countrywide Home Loans, 64



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 A.3d 428, 442 (D.C. 2013) (cleaned up). “A consumer need not prove that she was ‘mislead,

 deceived, or damaged’ by a merchant’s actions.” Frankeny v. District Hospital Partners, 225

 A.3d 999, 1004 (D.C. 2020) (quoting D.C. Code § 28-3904). “In rare situations, courts may

 resolve the issue at the motion-to-dismiss stage, where the pleading does not plausibly allege that

 a reasonable consumer would be deceived.” Newton v. Kraft Heinz Foods Co., 2018 U.S. Dist.

 LEXIS 241406 at *7-8 (E.D.N.Y. Dec. 18, 2018) (cleaned up).

        B.      Discussion

        TFUSA plausibly alleges that the product contains PFAS based on its fluorine testing.

 Indeed, defendants acknowledge that its powder contains PTFE and that PTFE is a form of

 PFAS. See Motion at 14 (“FDA specifically permits some forms of PFAS – fluoropolymers like

 PTFE – to be used in connection with production of food.”). However, TFUSA acknowledges

 that “[t]he term PFAS refers to a large class of synthetic chemicals” and “includes over ‘4,000

 highly fluorinated aliphatic compounds.’” Opp. at 1-2 (quoting FAC ¶ 34). For the reasons

 discussed in Part II above, the Court takes judicial notice of the fact that different PFAS have

 potential different health effects and that PTFE has not been found to be toxic or

 environmentally unsafe. In its amended complaint, TFUSA does not mention PTFE, much less

 allege that studies of PTFE indicate that it is harmful to humans (including in the quantities

 contained in defendants’ product) or that PTFE is not sustainable.

        In its opposition, TFUSA asserts in conclusory terms that PTFE “is neither sustainable

 nor safe, as reasonable consumers understand these terms.” Opp. at 3. However, even putting

 aside the fact that this assertion does not appear in the complaint, such “mere conclusory

 statements do not suffice” to defeat a motion to dismiss. See Sundberg, 109 A.3d at 1129

 (cleaned up). TFUSA does not cite any study or analysis concluding that PTFE is unsafe to



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 humans or unsustainable. TFUSA also asserts that “the production of PTFE can entail the

 discharge of other unsafe and unsustainable PFAS chemicals.” Opp. at 7. But TFUSA does not

 allege any specific facts relating to the production of PTFE, and it must nudge its claim across

 the line from conceivable to plausible. See Tingling-Clemons, 133 A.3d at 246. Likewise, the

 possibility that other PFAS chemicals may be found in defendants’ products (see Opp. at 7-8)

 does not warrant denial of defendants’ motion or entitle TFUSA to discovery.

        TFUSA acknowledges that defendants list PTFE as an ingredient on the label of

 CoverGirl powder, and TFUSA does not allege that defendants have made any specific

 representations about the safety or sustainability of this particular product. TFUSA is correct

 that “[w]hile generally an accurate statement would not mislead a reasonable consumer, there is

 still a possibility that a reasonable consumer would still find an accurate statement misleading.”

 Opp. at 6, quoting National Consumers League v. Bimbo Bakeries USA, 2015 D.C. Super.

 LEXIS 5, at *30 (D.C. Superior Ct. Apr. 2, 2015). Although this possibility exists, TFUSA’s

 allegation stops short of the line between possibility and plausibility of entitlement to relief. See

 Potomac Development Corp., 28 A.3d at 544. TFUSA does not allege specific facts supporting a

 plausible inference that any reasonable consumer is likely to find defendants’ accurate statements

 about this particular product misleading. In the absence of a deceptive statement about the

 product, it is not plausible that a reasonable consumer would be misled by an accurate list of a

 product’s ingredients. See Cheslow v. Ghirardelli Chocolate Co., 445 F. Supp. 3d 8, 20 (N.D.

 Cal. 2020).1




        1
           See Floyd v. Bank of America Corp., 70 A.3d 246, 255 (D.C. 2013) (relying on cases
 interpreting California’s Consumers Legal Remedies Act because it contains language similar to
 terms used in the CPPA).
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        Furthermore, the representations that TFUSA contends are misrepresentations cannot

 plausibly be characterized as more than commercial “puffery” on which no reasonable person

 would rely. See generally Pearson v. Chung, 961 A.2d 1067, 1076 (D.C. 2008). TFUSA

 identifies three sets of representations. First, defendants’ website states, “Our products have an

 important role to play in building a sustainable future” and “[t]o respond to evolving social and

 environmental challenges, we intend to keep sustainability at the heart of product innovation.”

 FAC ¶ 22. Second, defendants issued a report acknowledging that “our products have an

 environmental impact” and stating, among other things, that “Our ambition is to put

 sustainability at the heart of innovation” and “We want to change the way we design, formulate

 and manufacture, in order to minimize our environmental impacts and create more innovative,

 cleaner products.” Id. ¶ 23. Third, defendants issued a press release stating that CoverGirl

 “continues to define what it means to be a responsible beauty brand,” “COVERGIRL continues

 to make good-for-you makeup and skincare, prioritizing the health of our consumers and the

 planet,” and “COVERGIRL continues to identify areas where we can reduce our environmental

 impact, continuing to lead the way as the original clean brand which our consumers are proud to

 stand behind.” FAC ¶¶ 27-29.

        These statements about defendants’ philosophy and aspirations cannot plausibly be

 interpreted as a representation that none of their products contains any PFAS chemical or any

 ingredient in a large class that includes some chemicals which are unsafe or unsustainable.

 TFUSA alleges that “PFAS are a group of synthetic chemicals that can provide certain

 marketable benefits for cosmetic products, including ‘hydrophobicity and film-forming ability,

 which are thought to increase product wear, durability, and spreadability’” and that they have

 properties that make them useful for repelling oil and water. FAC ¶¶ 2-3. TFUSA does not



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 allege facts making it implausible that an environmentally conscious and responsible company

 could reasonably conclude that the benefits of using PTFE in a cosmetic product outweigh any

 unproven and speculative risks.

        TFUSA does not allege facts supporting a plausible inference that defendants made an

 actionable omission in their marketing materials. “Under § 28-3904(f), a plaintiff must show

 that an omission was material and had a tendency to mislead,” and “an omission is material if a

 significant number of unsophisticated consumers would find that information important in

 determining a course of action.” Saucier, 64 A.3d at 442 (cleaned up); see Frankeny, 225 A.3d

 at 1005 (defining materiality). TFUSA does not identify with reasonable specificity the

 additional information about PTFE that defendants had to include in marketing materials to

 avoid a material omission. TFUSA does not cite any authority for the proposition that

 defendants were obligated to disclose not only that their product contains PTFE but also that

 PTFE is one of thousands of PFAS chemicals and that research does not indicate that PTFE is

 unsafe or unsustainable but does indicate that other PFAS chemicals may be unsafe or

 unsustainable.

        A separate and independent basis for dismissing the claims against Noxell is that all of

 the misleading statements alleged by TFUSA were made by Coty, and TFUSA does not respond

 to this argument. Accordingly, TFUSA does not state a misrepresentation claim under the CPPA

 against Noxell.

 IV.    CONCLUSION

        For these reasons, the Court orders that:

        1.        The defendants’ motion for judicial notice is granted.

        2.        The defendants’ motion to dismiss is granted.



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        3.     The claims against defendants are dismissed.



                                                              _____________________________
                                                                     Anthony C. Epstein
                                                                           Judge


 Date: June 1, 2022

 Copies via CaseFileXpress to all counsel




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